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                                 UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF OHIO

                                          EASTERN DIVISION




IN RE NATIONAL PRESCRIPTION                           MDL 2804
OPIATE LITIGATION                                     Case No. 17-md-2804
This document relates to:                             Hon. Dan Aaron Polster
The County of Summit, Ohio, et al. v. Purdue Pharma
L.P., et al., Case No. 18-OP-45090




                               Report of David S. Egilman MD, MPH



                                            March 25, 2019




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2 BACKGROUND AND QUALIFICATIONS
My name is Dr. David Egilman. I am a medical doctor and Clinical Professor of Family
Medicine at Brown University. I am board certified in Internal Medicine and Preventive-
Occupational Medicine. My curriculum vitae [Egilman CV hereto attached as Exhibit A.1]
sets forth more fully my qualifications.

I received a Bachelor of Science degree in Molecular Biology and a degree in Medicine at
Brown University. [Egilman CV at 1] I then completed my three year residency in internal
medicine at the University of Rochester. [Egilman CV at 1] I helped start a program
focused on women's health. I completed NIH’s three-year Epidemiology Training Program.
[Egilman CV at 1-2] The first year of this program involved training at the Harvard School
of Public Health (HSPH), where I was awarded a Master’s Degree in Public Health.
[Egilman CV at 1-2] At Harvard, I studied industrial hygiene and toxicology;
epidemiology; statistics; occupational medicine and law; public policy with respect to
occupational and environmental hazards; areas that relate to the specialty of preventive
medicine, including education, product design changes and substitution; warnings and risk
communication, including regulatory approaches to control; the tort system; environmental
law; Food and Drug Administration (FDA) and OSHA law; and the Consumer Product
Safety Commission (CPSC). One course that I completed during the program covering
various legal and regulatory approaches to control of health hazards was a joint course
offered by the Harvard Law School, the Harvard School of Public Health, and the MIT
Business School. I spent the second two years of the National Institutes of Health (NIH)
Epidemiology Training Program at NIOSH. As part of my assignment I received the
training in epidemiology and surveillance provided by the Centers for Disease Control to
Epidemic Intelligence Service officers. At NIOSH, I received training in the law as it
applied to NIOSH and OSHA medical officers. I was responsible for implementing parts of
the OSHA Act relevant to investigation of worker health. I received training in risk
communication and warnings at NIOSH. At NIOSH, I received training in industrial
hygiene techniques, conduct of epidemiologic studies, and risk analysis -- particularly as it
applied to carcinogens and dose assessment. I designed implemented small and large
epidemiological studies. I participated in industrial hygiene sampling and became familiar
with industrial hygiene monitoring for asbestos and other toxic exposures. While at
NIOSH, I completed the NIOSH residency in occupational medicine in 1984. [Egilman CV
at 1] At NIOSH I was a uniformed officer of the U.S. Public Health Service. While at
NIOSH, my responsibilities included education of workers, employers and members of the
public regarding health hazards. I provided this information through a variety of vehicles,
including written reports, conferences, mass meetings and face-to-face conversations.
NIOSH and the CDC provided training on the mechanisms of effective communication. I
completed a third residency in preventive medicine in 1993. [Egilman CV at 1]

Occupational Medicine is the branch of medicine that deals with the prevention and
treatment of diseases and injuries that occur as a result of exposure to chemical substances.
This specialty deals with the toxicological effects of exposures to chemical substances on the
body. The fundamental aspect of this specialty is the determination of which exposures
cause disease, and how they do so. My educational and professional background, training

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at HSPH and NIOSH, and teaching and publications provide the basis of my expertise in
warnings.

I have extensively studied the role of warnings in preventing illnesses and the current and
historical techniques for providing warnings. I have published two chapters in the major
textbook relating to warning and risk communication. [Egilman CV at 13: Chapter Two "A
Brief History of Warnings," and " Consider The Source: Warnings And Anti-Warnings In
The Tobacco, Automobile, Beryllium, And Pharmaceutical Industries" in Wogalter Ed.,
Warnings and Risk Communication]

My first chapter in the book on Warnings and Risk Communication, (the first full chapter
in the book) dealt with the history of warnings; the second addressed the adverse effects of
marketing on public health, focusing particularly on false reassurance given by product
manufacturers to consumers. Both chapters dealt with issues that related to FDA
regulatory authority. Some of my publications have dealt with FDA regulations and I cover
FDA-related issues in my course. [Egilman CV at 2, 13, & 19]

I also ran a clinic for 12-13 years, treating patients and consulting in occupational medicine
for large and small companies. I treated patients with pain from cancer and chronic non-
malignant pain and at times prescribed opioids in my practice. [Egilman IMS Data hereto
attached as Exhibit A.2]

I am licensed to practice medicine in Massachusetts, Rhode Island, and Mississippi. I have
published over 100 papers, including 50 original publications in peer-reviewed journals and
78 presentations. I have authored peer-reviewed publications on epidemiology and
causation; regulatory science; warnings, anti-warnings, and risk communication; the
development of the corporate, medical and scientific communities’ knowledge of the health
hazards; and corporate influence on science and regulation.

The Asbestos Disease Awareness Organization (ADAO) awarded me the Irving Selikoff
Lifetime Achievement Award for my academic contributions to the prevention of asbestos
disease. [Egilman CV at 3]

I have taught several courses at Brown University, including the Development of Medical
and Scientific Knowledge in the 20th Century; and Science and Power: A Bioethical
Inquiry, and currently teach a course in the Brown School of Public Health called, “Science
and Power – The Corruption of Public Health.” This course deals specifically with the issues
outlined in this report: the history of the development of knowledge regarding the health
hazards; FDA regulations; warnings and risk communication, including corporate
knowledge of health effects of products; the history of the development of government
regulations on occupational, consumer and environmental safety; and the history of the
development of contemporaneous appropriate public health responses to information
regarding the adverse health effects of products on users, including education of product
users and product redesign (state of the art). In my course, I compare the medical and
scientific information available to the companies with that available to the medical and
scientific community.



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I have also published on these topics. I have also taught a two-year course for medical
students that covered medical ethics, community approaches to public health, and health
education.

I served, for over 10 years, as a preceptor to residents in Family Medicine and medical
students, supervising the care of patients. I served for 9 years as the Editor in Chief of a
major journal: The International Journal of Occupational & Environmental Health.
[Egilman CV at 2]

On two occasions I testified before congressional sub-committees on the issues relating to
informed consent and corporate responsibility to inform members of the public about health
hazards. My testimony concerned the history of informed consent, warnings, and research
ethics. In addition, I have published two papers on the topic of the history of the
development of informed consent. I was a board member of Citizens for Responsible Care in
Research from 1997- 2009. I am currently a board member of The Alliance for Human
Research Protection (AHRP). These non-governmental organizations (NGO) deal with the
ethical conduct of research.

I have reviewed the history of warnings from the published literature, and from internal
corporate documents and organizational documents. I presented several papers on
warnings. I teach about warnings at Brown University, including FDA drug-related
warnings. I testified before Congress on the history and development of informed consent,
as well as on current informed consent practices. I have been accepted as an expert by the
court in Keenan v. Parke-Davis et al. PC 84-1667 (Rhode Island) on the issue of warnings
and FDA policy. I have also been accepted as a witness on issues that relate to FDA
warning policy in the case of Vassallo v. Baxter Healthcare Corporation, 428 Mass. 1
(1998). My affidavit on medical epistemology was cited by the court. I have reviewed
corporate documents specifically addressing warning practices throughout this century. I
have studied the efficacy of warnings.

Along with my colleague, Susanna Bohme, I co-authored two chapters in a textbook on the
history of warnings: Egilman D.S., Bohme S.R. “A Brief History of Warnings” and “Consider
the Source: Warnings and Anti-Warnings in the Tobacco Beryllium, Automobile and
Pharmaceutical Industries,” Handbook of Warnings, ed. Michael Wogalter Mahwah, NJ:
Lawrence Erlbaum Associates, 2006. In November of 2004, I presented a lecture at the
American Public Health Association Conference entitled, “Occupational Warnings:
Protecting People or Protecting Profit?” In addition, in July of 2004 at the Center for
Science in the Public Interest (CSPI) conference, I presented a lecture on “The Suppression
of Science: How Corporate Interests Hide the Truth.” In this talk, I spoke of the need to
adequately warn doctors and the public about the health risks of exposure to products,
about FDA regulations, and about corporate codes of conduct and ethical standards.

I have presented at the annual American Public Health Association conference off-label
marketing and hiding addiction risks. (Egilman DS and Falender J. OxyContin: How
Profits Took Priority over Public Health. APHA, Nov 2004.) In February 2013, I presented
to the FDA about OxyContin’s 12-hour dosing regimen as a contributing cause of opioid
addiction. [FDA Presentation Slides and Transcript hereto attached as Exhibit A.3 and

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Exhibit A.4] I have authored a number of articles and presentations pertaining to medical
and business warnings issues. (See attached CV for complete list of publications and
presentations.)

   •   Writings and presentations explicitly dealing with warnings and disclosure in
       business and scientific research and publishing:
          o Angell, M et al. Letter to the Editor [Journal Should Strengthen Conflict of
             Interest Disclosure Policy] Nature Neuroscience 6: 10, October 2003.
          o Egilman, D.S., Ehrle, L.H. Handling Conflicts of Interest between Industry
             and Academia. JAMA 289, June 25 2003: 3240.
          o Egilman, D., Hornblum, A., Letter to the Editor: Guinea Pigs Behind Bars,
             The Boston Globe, Monday, November 29, 1999.
          o Egilman, D., Wallace, W., Stubbs, C., and Mora-Corrasco, F. “Ethical
             Aerobics: ACHRE’s Flight from Responsibility.” Accountability in Research
             Vol. 6, pp. 15-61, 1998.
          o Egilman, D., Reinert, A.: What Is Informed Consent? Washington Post,
             January 14, 1994: P 24.
          o Egilman, D., Ethics of Mandatory Masturbation (letter), JOM, 30;12:992,
             December 1988.
          o Egilman, D.S., Written Testimony submitted to the US Senate Subcommittee
             on Antitrust, Competition Policy and Consumer Rights Hearing, “Hospital
             Group Purchasing: Has the Market Become More Open to Competition?” July
             16, 2003.
          o Egilman, David: Oral Testimony Before the President's Advisory Committee
             on Human Radiation Experiments, July 17, 1995.
          o Egilman, David: Oral Testimony Before the President's Advisory Committee
             on Human Radiation Experiments, February 1995.
          o Egilman, D., Wallace, W., Stubbs, C., and Mora-Corrasco, F. “A Little Too
             Much of the Buchenwald Touch? Military Radiation Research at the
             University of Cincinnati, 1960-1972.” Accountability in Research Vol. 6, pp.
             63-102, 1998.
          o Egilman, David: International Health Work: First Do No Harm, Family
             Medicine Grand Rounds, Memorial Hospital of Rhode Island, Feb. 1991.
          o Bailar JC, Ballal SG, Boback M, Castleman B, Heng LC, Cherniack M,
             Christiani D, Cicolella A, Fernandez de D’Pool J, Egilman DS, et al. (Special
             Contributions) FIOH-sponsored Newsletter Misrepresents Asbestos Hazards
             in Zimbabwe. Int J Occup Environ Health 12(3):254-258, Jul-Sept 2006.
          o Egilman DS. Ford, General Motors, Chrysler, Asbestos and a “Sane
             Appreciation of the Risks” (Editorial). Int J Occup Environ Health 15(1):109-
             110, Jan-Mar 2009.
          o Egilman DS and Bohme SR. Vioxx Marketing: Merck’s Failure to Warn.
             International Ergonomics Association 2006 Conference Proceedings.


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          o   Bohme SR and Egilman DS. Pharmaceutical Warnings and “Direct to
              Consumer” Marketing. International Ergonomics Association 2006
              Conference Proceedings.
          o Bohme SR and Egilman DS. Occupational Warnings: Protecting People or
              Protecting Profit. APHA, Nov 2004.
          o Egilman DS. Panel Member: From Practice to Science: How Application
              Guides Warning Research. International Ergonomics Association Conference,
              Jul 2006.
   •   Other writings and presentations, considering issues relevant to the fields of medical
       and business practices, including industry influence on research, attorney
       misconduct in procuring clients, and marketing of products that injure workers
       and/or consumers:
          o Egilman, D.S., Fehnel, C., Bohme, S.R. Exposing the “Myth” of ABC: A
              Critique of the Canadian Asbestos Mining Industry-McGill Chrysotile
              Studies. Amer J Ind Med 44:5, 2003.
          o Egilman, D.S., Bagley, S., Biklen, M., Golub, A.S., Bohme S.R. The Beryllium
              “Double Standard” Standard. International Journal of Health Services 33:4,
              2003.
          o Egilman, D.S., Bagley, S., Connolly, S., Letter to the Editor: Anything But
              Beryllium: The Beryllium Industry’s Corruption of Safety Information, Am. J.
              Ind. Med., 42:3, September 2002.
          o Egilman, D.S., Asbestos Screenings, Am. J. Ind. Med., 42:2, August 2002.
          o Egilman, D., Walta, M., Letter to the Editor: Breast Implant Verdicts
              Resulted From Corporate Misconduct and Legitimate Science, Am. J. Pub.
              H., 89:11 1763-1764, November 1999.
          o Egilman, D., Hom, C., Commentary: Corruption of the Medical Literature: A
              Second Visit, Am. J. Ind. Med., 34:4 401-404, October 1998.
          o Egilman, D., Wallace, W., Hom, C., W. R. Grace Corporate Corruption of the
              Medical Literature, Accountability in Research Vol. 6, pp.127-147, 1998.
          o Durand, K. and Egilman, D., Possible Corruption Of IH Literature By
              DuPont: The Imron Respirator Studies, Am Ind. Hyg.. Assoc. J. 56:817-825,
              August 1995.
          o Egilman, D., Reinert, A.: The Origin and Development of the Asbestos
              Threshold Limit Value: Scientific indifference and corporate influence. Int. J.
              Health Serv. 25:667-696, 1995.
          o Egilman, D., Hardy, HL: Manipulation of Early Animal Research on Asbestos
              Cancer (letter). Am. J. Ind. Med. 24:787-791.1993.
          o Egilman, D., The emperor has no clothes: TLVs and Corporate influence, Am
              Ind. Hyg. Assoc. J., 187-188, March 1990.
          o Egilman, D.S., Evidence of Continued Corruption of the Epidemiological
              Literature, APHA, November 2002.
          o Egilman, D.S., Tobacco Marketing as an Anti-warnings Program, APHA,
              November 2002.
          o Egilman, D.S., Connolly, S., Golub, A., QAMA/McGill Corruption of the
              Epidemiologic Literature on Canadian Asbestos Mining, IEA World
              Conference of Epidemiology, August 2002.


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         o   Egilman, D.S., Bagley, S., The Corporate Corruption of Epidemiology: The
             Asbestos, Beryllium, Tobacco Industries and the Role of Attorneys and Public
             Relations Firms, IEA World Conference of Epidemiology, August 2002.
         o   Egilman, D.S. Role of Insurance Companies in Industrial Health: Example of
             the Asbestos Tragedy, APHA, October 2001.
         o   Participant, Institute of Medicine, Division of Health Sciences Policy, Town
             Meeting on Clinical Research in the Public Interest, National Academy of
             Sciences, Washington, D.C. July 10-11, 1997.
         o   Kate Duran and Egilman, David: Corruption of IH Literature by Chemical
             Companies, APHA, Nov. 1991.
         o   Egilman, David, and Alexander Reinert: Corruption of the Asbestos
             Epidemiological Literature, APHA, Nov. 1991.
         o   Egilman, David: The Making of an Occupational/Environmental Disaster:
             The Corruption of the Asbestos Literature, Family Medicine Grand Rounds,
             Memorial Hospital of Rhode Island, Mar. 1991
         o   Egilman DS. Suppression Bias at the Journal of Occupational and
             Environmental Medicine. Int J Occup Environ Health 11(2):202-204, Apr-Jun
             2005.
         o   Egilman DS and Bohme SR, Guest Editors. Over a Barrel: Corporate
             Corruption of Science and Its Effects on Workers and the Environment. Int J
             Occup Environ Health 11(4):331-337, Oct-Dec 2005.
         o   Egilman DS and Billings MA. Abuse of Epidemiology: Automobile
             Manufacturers Manufacture a Defense to Asbestos Liability. Int J Occup
             Environ Health 11(4):360-371, Oct-Dec 2005.
         o   Bohme SR, Zorabedian J, and Egilman DS. Maximizing Profit and
             Endangering Health: Corporate Strategies to Avoid Litigation and
             Regulation. Int J Occup Environ Health 11(4):338-348, Oct-Dec 2005.
         o   Egilman DS and Scout. Corporate Corruption of Science - The Case of
             Chromium (VI) (Commentary). Int J Occup Environ Health 12(2):169-176,
             Apr-Jun 2006.
         o   Egilman DS and Howe S. Against Anti-health Epidemiology: Corporate
             Obstruction of Public Health via Manipulation of Epidemiology. Int J Occup
             Environ Health 13(1):118-124, Jan-Mar 2007.
         o   Krumholz HM, Ross JS, Presler AH, and Egilman DS. What Have We Learnt
             from Vioxx? BMJ 334(7585):120-123, Jan 20, 2007.
         o   Egilman DS, Scout, Kol L, Hegg L, and Bohme SR. Manipulated Data in
             Shell’s Benzene Historical Exposure Study (Commentary). Int J Occup
             Environ Health 13(2):222-232, Apr-May 2007.
         o   LaDou J, Teitelbaum DT, Egilman DS, Frank AL, Kramer SN, and Huff J.
             American College of Occupational and Environmental Medicine (ACOEM): A
             Professional Association in Service to Industry. Int J Occup Environ Health
             13(4):404-426, Oct-Dec 2007.
         o   Ross JS, Hill KP, Egilman DS, and Krumholz HM. Guest Authorship and
             Ghostwriting in Publications Related to Rofecoxib: A Case Study of Industry
             Documents from Rofecoxib Litigation. JAMA 299(15):1800-1812, Apr 16,
             2008.



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         o   Hill KP, Ross JS, Egilman DS, and Krumholz HM. The ADVANTAGE
             Seeding Trial: A Review of Internal Documents. Ann Intern Med 149(4):251–-
             259, Aug 2008.
         o   Egilman DS and Bohme SR. IJOEH and the Critique of Bias (Editorial). Int J
             Occup Environ Health 14(2):147-151, Apr-Jun 2008.
         o   Krumholz SD, Egilman DS, and Ross JS. Study of Neurontin: Titrate to
             Effect, Profile of Safety (STEPS) Trial: A Narrative Account of a Gabapentin
             Seeding Trial. Arch Intern Med 171(12):1100-1107, Jun 27, 2011.
         o   Egilman DS and Druar NM. Corporate versus Public Interests: Community
             Responsibility to Defend Scientific Integrity. Int J Occup Environ Health
             17(2):181-185, Apr-Jun 2011.
         o   Egilman DS, Ardolino EL, Howe S, and Bird T. Deconstructing a State-of-the-
             Art Review of the Asbestos Brake Industry. New Solut 21(4):545-571, 2011.
         o   Egilman DS, Bird T, and Lee C. MetLife and its Corporate Allies: Dust
             Diseases and the Manipulation of Science. Int J Occup Environ Health
             19(4):287-303, Oct-Dec 2013.
         o   Egilman DS, Bird T, and Lee C. Dust Diseases and the Legacy of Corporate
             Manipulation of Science and Law. Int J Occup Environ Health 20(2):115-125,
             Apr-Jun 2014.
         o   Egilman DS and Monárrez R. Corporate Corruption of Science – Another
             Asbestos Example. Am J Ind Med 60(2):152-162, Feb 2017.
         o   Steffen JE, Fassler EA, Reardon KJ, Egilman DS. Grave Fraudulence in
             Medical Device Research: A Narrative Review of the PIN Seeding Study for
             the Pinnacle Hip System. Accountability in Research 25(1):37-66, Jan 2018.
             DOI 10.1080/08989621.2017.1405259
         o   Egilman, DS. The Production of Corporate Research to Manufacture Doubt
             About the Health Hazards of Products: An Overview of the Exponent
             Bakelite® Simulation Study. New Sol May 2018.
             http://dx.doi.org/10.1177/1048291118765485
         o   Egilman DS and Steffen JE. Commentary on “Assessment of Health Risk
             from Historical Use of Cosmetic Talcum Powder”. (Accepted for publication:
             August, 2018.) DOI: http://dx.doi.org/10.1177/1048291118794166
         o   Bohme SR and Egilman DS. Beyond Reputation: Debate on the Role of
             Corporate Influence in Occupational and Environmental Medicine. New Solut
             18(3):317-324, 2008.
         o   Egilman DS. Seeding Trials: Just Say No (Letter). BMJ 339:b4527 Nov 2,
             2009.
         o   Egilman DS and Druar NM. Corporate versus Public Interests: Community
             Responsibility to Defend Scientific Integrity (Editorial). Int J Occup Environ
             Health 17(2):181-185, Apr-Jun 2011.
         o   Egilman DS and Bohme SR. Corporate Corruption of Science and its Effects
             on Workers and the Environment. Chain Reaction – The National Magazine
             of Friends of the Earth Australia 121:20-23, Jul 2014.
         o   Egilman DS and Tran T. A Commentary on Roggli’s “The So-Called Short-
             Fiber Controversy”. Int J Occup Environ Health DOI:
             10.1080/10773525.2016.1153866, 2016.



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          o   Egilman DS and Bohme SR. The suppression of science: How corporate
              interests hide the truth and how to stop them. Center for Science in the
              Public Interest Conference, Jul 2004.
          o   Egilman DS and Falender J. OxyContin: How Profits Took Priority over
              Public Health. APHA, Nov 2004.
          o   Egilman DS and Tran T. Manipulation in Data Presentation to the U.S. Food
              and Drug Administration (FDA) and the Public by DePuy Synthes. APHA,
              2015.
          o   Fassler E, Steffen J, Egilman D. Corporate Manipulation of Law and its
              Impact on Chronic Disease. APHA 2018 Annual Meeting & Expo, San Diego,
              CA. Nov 10-14, 2018.

I have reached the conclusions stated below to a reasonable degree of medical probability
based on my review of the medical and scientific literature, corporate documents,
depositions and on my years of training and clinical experience.




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3 METHODOLOGY

3.1 STATE OF THE ART MATERIALS REVIEWED
In the course of doing research, publishing peer-reviewed papers, corporate consulting in
occupational and environmental health, and teaching courses, I base my opinions on the
following sources of information:

   •   Review of medical literature:
          o Medical journal articles
          o Medical meetings
          o Medical textbooks
          o In order to review medical literature, I conducted computer searches of
             several different databases including:
                 ▪ Index Medicus
                 ▪ PubMed
                 ▪ NIOSHtic
                 ▪ EPA
                 ▪ Cancer Lit
                 ▪ MedLine
          o In addition, my staff or I reviewed each issue of Index Medicus from 1910
             through 1966. (Index Medicus was computerized from 1964 forward and was
             reviewed by computer following this.)
   •   Review of published books
   •   Review of corporate documents
          o I have had access to the entire repository of documents and metadata
             has had been produced in this litigation. This repository includes
             production from the following sources:
                 ▪ ABCD – Amerisource Bergen
                 ▪ Allergan
                 ▪ Anda
                 ▪ Cardinal Health
                 ▪ CVS
                 ▪ DDM – Discount Drug Mart
                 ▪ Endo
                 ▪ HD Smith
                 ▪ Henry Schein
                 ▪ Insys
                 ▪ Janssen
                 ▪ Mallinckrodt
                 ▪ McKesson
                 ▪ Purdue
                 ▪ Rite Aid
                 ▪ Teva
                 ▪ Walgreens

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                  ▪   Walmart
           o In addition to these, I reviewed legal complaints filed against opioid
              manufacturers and distributers in Massachusetts and Florida. When
              publicly available, I also reviewed the documents cited in these
              complaints.
           o I reviewed the Master Amended Complaint in this litigation.
           o My review of corporate documents included but was not limited to the
              following types of records:
                  ▪ Company meetings and correspondence
                  ▪ Internal company medical studies
                  ▪ Warnings labels and warnings policies
                  ▪ Promotional materials
                  ▪ Call notes
                  ▪ Marketing plans
                  ▪ CMEs
    •   Review of other produced documents
           o I reviewed documents from the Front Groups (organizations used by
              manufacturers to further promote their objectives)
           o I reviewed produced documents from Key Opinion Leaders
           o I reviewed produced documents from Advocacy Groups
           o I reviewed produced documents from Trade Groups
           o I reviewed produced documents from Professional Societies
    •   Review of depositions
           o Depositions (including exhibits) reviewed: I reviewed depositions taken
              in this case (Opiate MDL).

It is my expectation that I will review the Expert Reports of Plaintiffs’ and Defendants’
Experts once they are made available.


3.2 STATE OF THE ART METHODS
I employed systematic search techniques in combination with a grounded theory approach.
Grounded theory is an inductive method which allows analytical categories to emerge from
the data presented.1 A method of grounded theory analysis must build and change
responsively throughout the research process. The grounded theory approach recognizes
that data collection and analysis are inherently interrelated processes and calls for analysis
to begin at the time of first data collection. The researcher, therefore, must continually
ground their concepts and analyses in the reality of the data, which can protect against
researcher bias. As described by Corbin and Strauss, “…the hypotheses are constantly
revised during the course of the research until they hold true for the phenomena under
study, as evidence in repeated interviews, observations, or documents.”2 This approach has




1Pope, Ziebland, and Mays 2000
2Corbin, J. and A. Strauss (1990). "Grounded Theory Research: Procedures, Canons and
Evaluative Criteria." Zeitschrift fur Soziologie 19(6): 418-427.

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been used in analyses of corporate documents, which require the synthesis of a wide variety
of information.3 I have published a number of peer reviewed papers based on this method:

      •   Steffen JE, Fassler EA, Reardon KJ, Egilman DS. Grave fraudulence in medical
          device research: a narrative review of the PIN seeding study for the Pinnacle hip
          system. Accountability in Research 25(1):37-66, Jan 2018. DOI:
          10.1080/08989621.2017.1405259
      •   Ross JS, Hill KP, Egilman DS. Guest authorship and ghostwriting in publications
          related to Rofecoxib: a case study of industry documents from rofecoxib litigation.
          JAMA 299(15):1800-1812, 2008. DOI: 10.1001/jama.299.15.1800
      •   Hill KP, Ross JS, Egilman DS, Krumholz HM. The ADVANTAGE seeding trial: a
          review of internal documents. Ann of Intern Med 149(4):251-258, 2008.
      •   Krumholz SD, Egilman DS, Ross JS. Study of Neurontin: titrate to effect, profile of
          safety (STEPS) trial. Arch Intern Med 171(12): 1100-1107.

I initially searched the sources above for key terms identified by me, including:

      •   Opioids
      •   Opioid addiction
      •   Pain
      •   NSAIDs
      •   Pseudo-addiction
      •   Pain treatment
      •   Analgesic
      •   Opioid efficacy
      •   Acupuncture
      •   Meditation
      •   Marijuana pain
      •   Homeopathy

After the emergent subset of documents was reviewed, key themes and concerns were
identified, including documents specifically pertaining to evidence-based medicine, third
party interest groups, public-private partnerships, EERW study design, chronic pain
treatment, return-on-investment for marketing techniques, hospital licensing and
accreditation, state medical board licensing, off-label promotion, diversion, and 12-hour
dosing regimens. Additional searches were conducted to explore these and other more
specific topic areas as they arose. This iterative analysis formed the basis for my state on
the art opinions in this case.




3   Steinman et al. 2006

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3.3 EVIDENCE-BASED MEDICINE (EBM) METHODS
Evidence-based medicine (EBM) is an approach to medical decision-making meant to
integrate “individual clinical expertise with the best available external clinical evidence
from systematic research.”4,5 David Sackett described the importance of both external
clinical evidence and individual clinical experience in providing effective medical care:6

         Good doctors use both individual clinical expertise and the best available
         external evidence, and neither alone is enough. Without clinical expertise,
         practice risks becoming tyrannized by external evidence, for even excellent
         external evidence may be inapplicable to or inappropriate for an individual
         patient. Without current best external evidence, practice risks becoming
         rapidly out of date, to the detriment of patients.

The practice of EBM can be outlined in five basic steps:7,8

    1.   Translation of uncertainty to an answerable question
    2.   Systematic retrieval of best evidence available
    3.   Critical appraisal of evidence for validity, clinical relevance, and applicability
    4.   Application of results in practice
    5.   Evaluation of performance

I implemented EBM in my medical practice beginning in the mid- to late-1980s following
the publication of Dr. David Sackett’s landmark book Clinical Epidemiology.9 I also taught
EBM to medical students as a Clinical Professor of Family Medicine at Brown University.
Since its founding in 2002, I have headed GHETS (Global Health through Education,
Training, and Service) and, through the organization, have implemented EBM curriculum
in Asia, Africa, and Latin America.

3.3.1 Step 1: Translation of uncertainty to an answerable question
Answerable questions generally fall into two categories: “background” questions designed to
examine the problem or disorder itself and “foreground” questions intended to address a
specific problem, patient, or situation.10 Background questions generally comprise of 1) a
question root and verb and 2) some aspect of the disorder. Foreground questions usually


4 Sackett DL. Evidence-based medicine. Semin Perinatol [Internet]. 1997 Feb 1 [cited 2019 Feb
28];21(1):3–5. Available from: https://www.sciencedirect.com/science/article/pii/S0146000597800134
5 Sackett DL, Rosenberg WM, Gray JA, Haynes RB, Richardson WS. Evidence based medicine: what

it is and what it isn't. BMJ. 1996;312(7023):71-2.
6 Sackett DL. Evidence-based medicine. Semin Perinatol [Internet]. 1997 Feb 1 [cited 2019 Feb

28];21(1):3–5. Available from: https://www.sciencedirect.com/science/article/pii/S0146000597800134
7 Ibid.
8 Dawes M, Summerskill W, Glasziou P, et al. Sicily statement on evidence-based practice. BMC Med

Educ. 2005;5(1):1. Published 2005 Jan 5. doi:10.1186/1472-6920-5-1
9 Sackett DL, Haynes RB, Tugwell P. Clinical epidemiology: a basic science for clinical medicine. 1st

ed. Boston, MA: Little, Brown; 1985.
10 Sackett DL, Straus SE, Richardson WS, Rosenberg W, Haynes RB. Evidence-Based Medicine: How

to Practice and Teach EBM. 2nd Edition. Edinburgh, UK: Churchill Livingstone; 2000.

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contain 1) the patient or problem of interest, 2) the main intervention, 3) comparison
interventions, and 4) the desired clinical outcome.

I asked the following background questions:

     •     What are the treatment options for chronic non-cancer pain?

I asked the following foreground questions:

     •     In patients with chronic non-cancer pain, how do opioids and NSAIDs compare in
           terms of efficacy and adverse effects?

3.3.2 Step 2: Systematic retrieval of best evidence available
Once an answerable question has been posed, the researcher must select an evidence
resource, execute a search strategy, and then evaluate the evidence summary.11

EBM tends to devalue textbooks as a source of best evidence because the information
contained within them can quickly become out of date. For a textbook to be a dependable
source of evidence, it should be revised frequently, be heavily referenced, and be comprised
of evidence selected according to explicit principles of evidence.12 Evidence databases, such
as MEDLINE/PubMed, offer a better means for retrieving the best, most current evidence.
13


In order to review medical evidence, I conducted computer searches of several different
databases including:

     •     Index Medicus
     •     PubMed (MEDLINE)
     •     NIOSHtic
     •     EPA
     •     Cancer Lit
     •     MedLine

In addition to published evidence, I also searched corporate records for unpublished
studies. I have had access to the entire repository of documents produced in this
litigation. This repository includes production from the following sources:

     •     ABCD – Amerisource Bergen
     •     Allergan
     •     Anda
     •     Cardinal Health
     •     CVS
     •     DDM – Discount Drug Mart
     •     Endo
     •     HD Smith

11 Ibid.
12 Ibid.
13 Ibid.


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     •   Henry Schein
     •   Insys
     •   Janssen
     •   Mallinckrodt
     •   McKesson
     •   Purdue
     •   Rite Aid
     •   Teva
     •   Walgreens
     •   Walmart

I initially searched the sources above for key terms identified by me, including:

     •   Opioids
     •   Opioid addiction
     •   Pain
     •   NSAIDs
     •   Pseudo-addiction
     •   Pain treatment
     •   Analgesic
     •   Opioid efficacy
     •   Acupuncture
     •   Meditation
     •   Marijuana pain
     •   Homeopathy

Once these results were returned, I reviewed the abstracts, study description, or results
(evidence summary) to determine whether each study generally addressed my questions.

3.3.3   Step 3: Critical appraisal of evidence for validity, clinical relevance, and
        applicability
First, the researcher must consider the type of study returned. Different guidelines may be
used to critically appraise different types of studies. I used each of these, where
appropriate, to inform my analysis.

3.3.3.1 Individual Studies
Questions for evaluating the results of an individual study:14

     •   Was the study randomized? Was the randomization concealed?
     •   Was follow-up sufficiently long and complete?
     •   Were all patients analyzed in the groups to which they were analyzed?
     •   Were patients and clinicians blinded to the treatment?
     •   Were groups treated equally apart from the experimental therapy?


14Sackett DL, Straus SE, Richardson WS, Rosenberg W, Haynes RB. Evidence-Based Medicine: How
to Practice and Teach EBM. 2nd Edition. Edinburgh, UK: Churchill Livingstone; 2000.

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     •     Were groups similar at the start of the trial?

Once an individual study has been evaluated and the results deemed valid, the importance
of the results may be evaluated by asking two questions:15

     •     What is the magnitude of the treatment effect?
     •     How precise is the estimate of the treatment effect?

For qualitative differences in treatment efficacy between subgroups, it is advised these
differences only be considered important when the answer to all four of the following
questions is yes:16

     •     Does it make biological and clinical sense?
     •     Is the qualitative difference both clinically and statistically significant?
     •     Was the difference hypothesized before the study began (rather that the product of
           dredging the data) and has it been confirmed in other independent studies?
     •     Was it one of just a few subgroup analyses carried out in the study?

Finally, the EBM practitioner must ask whether the important results of a valid, individual
study are applicable to the particular problem or patient at hand.

3.3.3.2 Systematic Reviews
Questions for evaluating the results of a systematic review:17

     •     Is this a systematic review of randomized trials?
     •     Does this systematic review have a “methods” section that describes:
               o Finding and including all relevant trials
               o How the validity of the individual studies was assessed?
     •     Were the results consistent from study to study?
     •     Were individual patient data in the analysis? Or was aggregate data used?

Once a systematic review has been evaluated and the results deemed valid, the importance
of the results may be evaluated by asking two questions:18

     •     What is the magnitude of the treatment effect?
     •     How precise is the treatment effect?

Finally, the EBM practitioner must ask whether the important results of a valid systematic
review are applicable to the particular problem or patient at hand.

3.3.3.3 Evidence of Harm
Questions for evaluating the validity of evidence of harm by a treatment:



15 Ibid.
16 Ibid.
17 Ibid.
18 Ibid.


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     •   Were there clearly defined groups of patients, similar in all important ways other
         than exposure to the treatment (or other suspected cause)?
     •   Were treatments/exposures and clinical outcomes measured in the same ways in
         both groups? Was the assessment of outcomes either blinded to exposure or
         objectively measured?
     •   Was the follow-up of the study patients sufficiently long (for the outcome to occur
         and complete)?
     •   Do the results of the harm study fulfill some of the diagnostic considerations for
         causation?
             o Did exposure precede the outcome?
             o Is there a dose-response gradient?
             o Is there positive evidence from a “dechallenge-rechallenge” study?
             o Is the association consistent from study to study?
             o Does the association make biological sense?

Once the evidence of harm has been evaluated and deemed valid, the importance of the
evidence may be evaluated by asking two questions:19

     •   What is the magnitude of the association between exposure and harm?
     •   How precise is the association between exposure and harm?

Finally, the EBM practitioner must ask whether the evidence of harm is applicable to the
particular problem or patient at hand.

3.3.3.4 Guidelines for Levels of Evidence
Some EBM practitioners have created guidelines for categorizing and grading levels of
evidence.

Canadian Task Force on the Periodic Health Examination’s Levels of Evidence:20




19Ibid.
20Adapted from Canadian Task Force on the Periodic Health Examination. The periodic health
examination. Can Med Assoc J 1979;121:1193-254

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Levels of Evidence from Sackett:21




Levels of Evidence for Therapeutic Studies:22




21 Adapted from Sackett DL. Rules of evidence and clinical recommendations on the use of
antithrombotic agents. Chest 1989;95:2S–4S
22 From the Centre for Evidence-Based Medicine, http://www.cebm.net.


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As shown above, grading systems generally categorize systematic reviews of randomized
control trials as the gold standard of evidence, followed by individual randomized control
trials. The agencies which promulgate these grading systems often recognize that simplistic
hierarchies ignore cases where observational studies, case-series, or even anecdotal
evidence can provide definitive evidence and have made efforts to add greater nuance and
flexibility to their grading scales.24,25 GRADE guidelines also outline factors that may
increase or decrease the strength of evidence from a particular study.26,27 The GRADE
factors which may decrease confidence in evidence are risk of bias, imprecision,
inconsistency, indirectness, and publication bias. The GRADE factors which may increase
confidence in evidence are large magnitude of effect, dose-response gradient, and cases
where all plausible biases would decrease the magnitude of effect.28

Sackett (1997) cautioned against a “one-size-fits-all” approach to sources of evidence, but
emphasized the important of randomized trials for assessing treatments:29

       …in terms of study designs, evidence-based medicine is not restricted to
       randomized trials and meta-analyses. It involves tracking down the best
       external evidence with which to answer our clinical questions. To find out
       about the accuracy of a diagnostic test, its practitioners seek likelihood ratios,
       sensitivities, and specificities derived from proper cross-sectional studies of
       patients clinically suspected of harboring the relevant disorder, not a
       randomized trial. For a question about prognosis, they search for multivariate
       prediction rules generated from proper follow-up studies of patients assembled
       at a uniform, early point in the clinical course of their disease. Also,
       sometimes the evidence will come from the basic sciences such as genetics or
       immunology. It is when asking questions about therapy that the
       practitioners of evidence-based medicine avoid the non-experimental
       approaches, because these routinely lead to false-positive conclusions
       about efficacy. Because the randomized trial, and especially the
       systematic review of several randomized trials, is so much more likely
       to inform clinicians and so much less likely to mislead them, it has
       become the "gold standard" for judging whether a treatment does
       more good than harm. [Emphasis added.]




24 OCEBM Levels of Evidence Working Group. "Background document: Explanation of the 2011
Oxford Centre for Evidence-Based Medicine (OCEBM) Levels of Evidence.” Oxford Centre for
Evidence-Based Medicine. http://www.cebm.net/index.aspx?o=5653
25 Guyatt GH, Oxman A, Vist G, Kunz R, Falck-Ytter Y, Alonso-Coello P, et al. GRADE an emerging

consensus on rating quality of evidence and stren. Br Med J. 2008;336(7650):924–6.
26 Ibid.
27 https://bestpractice.bmj.com/info/us/toolkit/learn-ebm/what-is-grade/
28 Guyatt GH, Oxman AD, Sultan S, Glasziou P, Akl EA, Alonso-Coello P, et al. GRADE guidelines:

9. Rating up the quality of evidence. Journal of clinical epidemiology. 2011;64(12):1311-6.
29 Sackett DL. Evidence-based medicine. Semin Perinatol [Internet]. 1997 Feb 1 [cited 2019 Feb

28];21(1):3–5. Available from: https://www.sciencedirect.com/science/article/pii/S0146000597800134

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3.3.3.5 Evaluation of Funding Source and Conflicts of Interest
In addition to the factor reviewed above, funding source and conflicts of interest should be
reviewed and considered for all studies. In their paper “How evidence-based medicine is
failing due to biased trials and selective publication,” EBM practitioners Every-Palmer and
Howick reached the following conclusions about the effect of industry funding on EBM
practice:30

         We argue EBM’s indiscriminate acceptance of industry-generated ‘evidence’ is
         akin to letting politicians count their own votes. Given that most intervention
         studies are industry funded, this is a serious problem for the overall evidence
         base. Clinical decisions based on such evidence are likely to be misinformed,
         with patients given less effective, harmful or more expensive treatments.

The authors also provide a list of examples of methods for pharmaceutical companies to get
the results they want from clinical trials:31,32

     •   Conduct a trial of your drug against a treatment known to be inferior.
     •   Trial your drugs against too low a dose of a competitor drug.
     •   Conduct a trial of your drug against too high a dose of a competitor drug (making
         your drug seem less toxic).
     •   Conduct trials that are too small to show differences from competitor drugs.
     •   Use multiple end points in the trial and select for publication those that give
         favorable results.
     •   Do multicenter trials and select for publication results from centers that are
         favorable.
     •   Conduct subgroup analyses and select for publication those that are favorable.
     •   Present results that are most likely to impress – for example, reduction in relative
         rather than absolute risk.

Every-Palmer and Howick recommend adopting industry bias as a factor in guidelines for
evaluating levels of evidence:33

         Evidence-ranking schemes need to be modified to take the evidence about
         industry bias into account. There are already mechanisms within EBM
         evidence-ranking schemes to up- or downgrade evidence based on risk of bias.
         For example, the Grading of Recommendation Assessment, Development and
         Evaluation (GRADE) system allows for upgrading observational evidence
         demonstrating large effects, and downgrading randomized trials for failing to
         adequately conceal allocation (and various other factors) [65]. However,


30 Every-Palmer S, Howick J. How evidence-based medicine is failing due to biased trials and
selective publication. J Eval Clin Pract. 2014;20(6):908–14.
31 Ibid.
32 Smith, R. (2005) Medical journals are an extension of the marketing arm of pharmaceutical

companies. PLoS Medicine, 2 (5), e138.
33 Every-Palmer S, Howick J. How evidence-based medicine is failing due to biased trials and

selective publication. J Eval Clin Pract. 2014;20(6):908–14.

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         currently such schemes are agnostic to the origins of evidence and do not
         expressly recognize the high risk of bias when the producers of evidence have
         an invested interest in the results. It would be easy to introduce an
         evidence quality item based on whether a trial was conducted or
         funded by a body with a conflict of interest. If so, the evidence could
         be downgraded. Given the failure of current evidence-ranking
         schemes to detect and rule out industry-funding bias, this is a
         necessary step if EBM critical appraisal is to remain credible.
         [Emphasis added.]

For these reasons, I included funding source and industry bias as one of the factors which
would decrease my confidence in a particular source of evidence.

3.3.4 Step 4: Application of results in practice
This step speaks for itself. Once a critical analysis of the evidence has been completed, the
findings can be applied to the situation at hand.

In this case, I applied my results in the form of my expert opinions.

3.3.5 Step 5: Evaluation of performance
Guidelines exist for self-evaluation of each of the previous steps of EBM practice.34

Self-evaluation for asking answerable questions:

     •   Am I asking any clinical questions at all?
     •   Am I asking well-formulated questions (based on the guidelines reviewed above)?
     •   Am I using a “map” to locate my knowledge gaps and articulate questions?
     •   Can I get myself “unstuck” when asking questions?
     •   Do I have a working method to save my questions for later answering?
     •   Am I modeling the asking of answerable questions for my learners?
     •   Am I writing any educational prescriptions in my teaching? Are they being “filled”?
     •   Are we incorporating question asking and answering into everyday activities?
     •   How well am I guiding my learners in their question asking?
     •   Are my learners writing educational prescriptions for me?

Not all of these questions applied to my practice of EBM in this context. Of those which did
apply, I found that my performance was satisfactory.

Self-evaluation for finding the best external evidence:

     •   Am I searching at all?
     •   Do I know the best sources of current evidence for my clinical discipline?
     •   Have I achieved immediate access to searching hardware, software, and the best
         evidence for my clinical discipline?
     •   Am I finding useful external evidence from a widening array of sources?

34Sackett DL, Straus SE, Richardson WS, Rosenberg W, Haynes RB. Evidence-Based Medicine: How
to Practice and Teach EBM. 2nd Edition. Edinburgh, UK: Churchill Livingstone; 2000.

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   •   Am I becoming more efficient in my searching?
   •   Am I using MeSH headings, thesaurus, limiters, and intelligent free text when
       searching MEDLINE?
   •   How do my searches compare with those of research librarians or other respected
       colleagues who have a passion for providing best current patient care?

I found that my performance was satisfactory.

Self-evaluation for critically appraising the evidence for its validity and potential
usefulness:

   •   Am I critically appraising external evidence at all?
   •   Are the critical appraisal guides becoming easier for me to apply?
   •   Am I becoming more accurate and efficient in applying some of the critical appraisal
       measures?
   •   Am I creating any CATS (critically appraised topics)?

Not all of these questions applied to my practice of EBM in this context. Of those which did
apply, I found that my performance was satisfactory.

Self-evaluation for applying results in practice:

   •   Am I integrating my critical appraisals into my practice at all?
   •   Am I becoming more accurate and efficient in adjusting some of the critical
       appraisal measures to fit my individual patients?
   •   Can I explain and resolve disagreements about management decisions in terms of
       this integration?
   •   Have I conducted any clinical decision analyses?
   •   Have I carried out any audits of my diagnostic, therapeutic, or other EBM
       performance?

Not all of these questions applied to my practice of EBM in this context. Of those which did
apply, I found that my performance was satisfactory.




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4 DEFINITIONS

4.1 CHRONIC PAIN
As referred to herein, “chronic pain” is pain that has persisted after reasonable medical
efforts have been made to relieve the pain or cure its cause and that has continued, either
continuously or episodically, for longer than three continuous months.

See Exhibit B.16.


4.2 ADDICTION
As referred to herein, “addiction” is a cluster of behavioral, cognitive, and physiological
phenomena that develop after repeated substance use and includes: a strong desire to take
the drug, difficulties in controlling its use, persisting in its use despite harmful
consequences, a higher priority given to drug use than to other activities and obligations,
increased tolerance, and sometimes a physical withdrawal.

See Exhibit B.367.


4.3 TOLERANCE
As referred to herein, “tolerance” is the condition of a patient receiving, for one week or
longer, at least 60 mg oral morphine/day, 25 mcg transdermal fentanyl/hour, 30 mg oral
oxycodone/day, 8 mg oral hydromorphone/day, 25 mg oral oxymorphone/day, or an
equianalgesic dose of another opioid.

See Exhibit B.15.


4.4 THE “VENTURE”
As referred to herein, the “Venture” refers to all Defendants in the Opiate Litigation
(including their associated individuals and/or organizations) acting in a concerted fashion
separately or together to effect a particular objective.

See Exhibit B.473.


4.5 ADDITIONAL DEFINITIONS
I use a number of industry specific terms. These are more fully defined in Exhibit B.401.




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5 CAPSULE OF OPINIONS
The “Venture” acted in concert to:

   1. Undermine the risks of opioid addiction;
   2. Expand the market for opioid use by:
         a. Expanding the indications for use;
         b. Increasing the amount of opioids approved for use; and
         c. Manipulating the doctors’ perceptions of the relative risks, benefits and
             potency of opioids.
         d. Capitalizing on doctor’s misperceptions of the relative risks, benefits and
             potency of opioids.
         e. Recommending that opioids be used for chronic non-malignant pain.
         f. Defining pain as a disease, and not a symptom;
   3. Target inappropriate prescribers, including:
         a. Those prescribers who were not knowledgeable in the use of potent opioids for
             the management of chronic non-malignant pain.
         b. Those prescribers who were likely sources of abuse and diversion;
   4. Circumvent prescribing physicians by marketing directly to consumers as well as
      health care professionals, formularies, medical and nursing schools and state
      medical boards to promote increased use of opioids;
   5. Overstate the efficacy and appropriateness of opioid analgesics in the treatment of
      chronic non-malignant pain and fail to warn of the risk of hyperalgesia;
   6. Create and establish the myths around dosing, including but not limited to,
         a. Dose frequency is fixed;
         b. Titration should only be upward;
         c. There is no ceiling dose;
         d. The half-life elimination is the same for every human being on Earth;
   7. Strategically utilize third parties, including but not limited, to front groups, key
      opinion leaders, advocacy groups, unbranded promotion, professional societies, trade
      groups, company-sponsored non-drug specific promotion, and continuing education
      programs, to create the conditions necessary.

See below, Point 6, and Exhibits hereto attached, including Exhibits B.7, B.18, B.68,
B.337, B.369, and B.404.




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6 IN 2004, I WARNED ABOUT THE CRISIS; I WAS
  IGNORED
In 2004, I told Purdue Pharma the following facts and opinions. I hold the same opinions
today. Purdue ignored this documented misconduct and continued to mislead the medical
community about the addiction potential of their opioid drugs and expanded the market to
encourage use in patients for whom the drugs’ risks exceeded their benefits. In addition,
after I described these problems to them, Purdue marketed a new opioid, Palladone, whose
risks outweighed its benefits. https://www.fda.gov/Drugs/DrugSafety/ucm129288.htm



      1. OxyContin is a Schedule II narcotic which was approved by the Food and Drug
         Administration in 1995. The main ingredient in OxyContin is oxycodone, which is a
         synthetic, morphine-like substance. The drug was originally marketed for the
         management of moderate to severe pain where use of an opioid analgesic is
         appropriate for more than a few days, like cancer pain. However, Purdue Pharma has
         aggressively marketed OxyContin through an advertising campaign that misled health
         providers and the public about the dangers of OxyContin. In many ways, Purdue’s
         marketing strategy was formulated to assuage the disquiet of patients and physicians
         regarding the risks of abuse, diversion, addiction and death by overdose of OxyContin.
         Purdue Pharma developed the marketing piece “Myths about Opioids” to overcome the
         obstacle of physicians fearing that putting their patients on an opioid like OxyContin
         could cause them to become addicted. One of Purdue’s “myths” was “Opioid addiction
         (psychological dependence) is an important clinical problem in patients with moderate to
         severe pain treated with opioids.”35 In actuality, the myth wasn’t the risk of addiction,
         but the evidence they used to dispel this “myth.”


      2. As a practicing physician who had an active primary care practice, Purdue’s information
         on OxyContin, as provided in the Physicians Desk Reference gave me the impression that
         in general, patients would not become addicted to OxyContin if it were prescribed to
         them for pain. Unfortunately, I first became aware of the serious problems associated
         with OxyContin use through experiences with my patients which contradicted the
         promising scenario Purdue provided in its marketing materials and “warnings.” My
         patient experience revealed that addiction was a serious consequence of the prescription
         of OxyContin for pain.


      3. A review of the product labeling for OxyContin from 1999 to 2001 underscores Purdue’s
         failure to warn adequately regarding abuse or addiction. Some of the major inadequacies


35   “Dispelling Myths about Opioids,” Purdue Pharma.

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       of the labels comprise omissions of pertinent information and misrepresentations about
       the characteristics of OxyContin. I provide some examples below.


       The omissions include:


           a. Purdue failed to include “prior drug addiction” under the “Contraindications
              section” for the use of OxyContin. Instead, under a different section called “Use
              in Drug Abuse and Addiction” the statement was limited to “[OxyContin] has no
              approved use for the management of addictive disorders,”36,37,38
           b. Purdue failed to include the risk of addiction in the label’s “Warning” or
              “Precautions” sections;39
           c. Purdue omitted from the “Information for Patients/Caregivers” a warning that
              repeated administration could lead to addiction;40
           d. Purdue failed to list any of the symptoms of opioid withdrawal;41


       The misrepresentations include:


           e. Purdue told physicians that “delayed absorption, as provided by OxyContin
              tablets, is believed to reduce the abuse liability of a drug.”42 This is unsupported
              by any study and in fact while it is true that OxyContin has a slower release
              component, OxyContin also has a fast release component. “OxyContin Tablets
              exhibit a biphasic absorption pattern with two apparent absorption half times of
              0.6 and 6.9 hours, which describes the initial release of oxycodone from the tablet
              followed by a prolonged release.”43 Therefore, if delayed release reduced the
              likelihood of addiction then this drug would increase the risk of addiction.



36 Physicians’ Desk Reference, OxyContin Package Insert, 53rd ed. Montvale, NJ: Thompson PDR.
1999: 2572.
37 Physicians’ Desk Reference, OxyContin Package Insert, 54th ed. Montvale, NJ: Thompson PDR,

2000:2539.
38 Physicians’ Desk Reference, OxyContin Package Insert, 55th ed. Montvale, NJ: Thompson PDR,

2001.
39 Physicians’ Desk Reference, OxyContin Package Insert, 1999, 2000 and 2001.
40 Ibid.
41 Ibid.
42 Ibid.
43 Physicians’ Desk Reference, OxyContin Package Insert, 57th ed. Montvale, NJ: Thompson PDR,

2003, 2852.

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            f. Purdue stated that “tolerance and physical dependence in pain patients are not
               signs of psychological dependence.”44 This is not true. Tolerance and physical
               dependence to a drug are typical, hallmark, diagnostic symptoms of substance
               dependence. The Diagnostic and Statistical Manual of Mental Disorders
               describes the criteria for substance dependence which include both tolerance and
               withdrawal. “Criteria for Substance dependence: (1) Tolerance, as defined by
               either of the following: (a) a need for markedly increased amounts of the
               substance to achieve intoxication or desired effect (b) markedly diminished effect
               with continued use of the same amount of the substance. (2) withdrawal, as
               manifested by either of the following: (a) the characteristic withdrawal syndrome
               for the substance (b) the same (or a closely related) substance is taken to relieve
               or avoid withdrawal symptoms.”45


     4. The inadequacy of the OxyContin warning label is further underscored when it is
        compared to other addictive oral, controlled-release opioid analgesics containing
        morphine sulfate, MS Contin (Purdue Frederick) and OraMorph SR (Roxane). Both of
        these are marketed as controlled-release 12-hour pain control products like OxyContin
        and are Schedule II drugs with the same abuse liability as OxyContin. However, their
        labels are strikingly different, even though Purdue authored both the MS Contin and
        OxyContin labels.


     5. Unlike the OxyContin label, the labels for MS Contin and OraMorph SR state that the
        product may cause addiction upon repeated use. The MS Contin label states that
        “psychological and physical dependence may develop upon repeated administration.”46
        The OxyContin label does not address issues related to psychological and physical
        dependence. The OraMorph SR (Roxane) label acknowledges the addiction risk even
        more clearly: “Morphine is the most commonly cited prototype for a narcotic substance
        that possesses an addiction-forming or addiction-sustaining liability. A patient may be at
        risk for developing dependence to morphine if used improperly or for overly long periods
        of time.”47 Unlike the OraMorph label, OxyContin fails to alert physicians that,
        “Individuals with a history of opioid or other substance abuse or dependence, being more
        apt to respond to euphorogenic and reinforcing properties of morphine, would be
        considered to be at greater risk.”



44Physicians’ Desk Reference, OxyContin Package Insert, 1999, 2000 and 2001.
45 Diagnostic and Statistical Manual of Mental Disorders, Fourth Edition. Washington, D.C.: The
American Psychiatric Association, 1994: 181.
46 Physicians’ Desk Reference, MS Contin Package Insert, 57th ed. Montvale, NJ: Thompson PDR,

2003, 2835.
47 Physicians’ Desk Reference, OraMorph Package Insert, 56th ed. Montvale, NJ: Thompson PDR,

2002, 3063.

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      6. Also, unlike the OxyContin label, the OraMorph SR label does not emasculate statements
         regarding addictive potential by citing the product’s “delayed absorption” characteristics.
         Unlike the OxyContin label, the OraMorph SR label does not minimize addiction
         concerns by proclaiming that “reports” of addiction are “rare.” Purdue claimed that
         reports of addiction were rare before the drug was marketed; however, Purdue never
         performed any tests for addiction in its pre-market trials and health care providers could
         not make “reports” before Purdue sold the drug. In fact, soon after Purdue marketed the
         drug reports of addiction became all too common. They were so common in fact, that
         local newspapers began to report this problem in 1999. A search of LexisNexis revealed
         hundreds of press reports by 2001. There were not a comparable number of press reports
         for either MS Contin or OraMorph SR. In comparison to OxyContin, reports of addiction
         from other comparable drugs were “rare.”


      7. See attached table for further comparisons between the OxyContin, MS Contin and
         Percocet package inserts. (for table, see Exhibit B.455)


      8. Purdue Pharma’s own internal reports highlight problems with prescription drug abuse
         back to 2001. In 2001, a Purdue newsletter called “@purdue” included an article entitled,
         “A Busy Schedule for Dr. Haddox Produces Some Balanced Media.” (See attached as
         Exhibit 1.) The article describes how Purdue has sent one of their most prominent
         physicians, Dr. Haddox, to the Appalachian States, “visiting the communities most
         affected by the abuse and diversion of OxyContin Tablets.” Purdue reported that over a
         seven-month period, Dr. Haddox was on the road for 122 days dealing with “reports” and
         abuse of OxyContin. As a practicing physician, I would have wanted to know that one of
         Purdue’s head doctors was traveling for 122 days dealing with issues of drug addiction
         related to OxyContin use. This would have allowed me to gauge the extent of the
         problem and would have allowed me to place the “rare reports” of addiction statement in
         perspective.


      9. Beginning with the launch of the drug in 1996 Purdue’s OxyContin physician-directed
         promotional pieces, including advertisements, brochures, and videos, asserted that, “less
         than 1% of patients taking opioids actually become addicted.”48 They also asserted that
         the development of addiction to opioid medication is “rare,” and classify as “myth” that
         “opioid addiction (psychological dependence) is an important clinical problem in patients




48   “Dispelling Myths about Opioids,” Purdue Pharma.

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        with moderate to severe pain treated with opioids."49,50 These statements are wrong
        and/or unsupported by any scientific evidence.


     10. Purdue Pharma supports and maintains a website which discusses pain and promotes its
         product. Unfortunately, it also uses this site to misinform health care providers and
         patients about the risks of use of OxyContin. The website is called, “Partners Against
         Pain,” and includes articles such as "A Guide to Your New Pain Medication and How to
         Become a Partner Against Pain."51 This article followed the “Frequently Asked
         Questions” format and asked, “Aren't opioid pain medications like OxyContin Tablets
         "addicting"? Even my family is concerned about this." Purdue proffered the following
         mischaracterization of addiction: “Drug addiction means using a drug to get "high" rather
         than to relieve pain. You are taking opioid pain medication for medical purposes. The
         medical purposes are clear and the effects are beneficial, not harmful. True addiction
         rarely occurs when opioids are being used properly under medical supervision to relieve
         pain.” The "guide to patients" misleads patients into believing that their motivation for
         taking OxyContin (i.e., for pain instead of to "get high") is the sole determinant of
         whether they are, or will become, addicted to their pain medication.


     11. In 2001, in another question and answer section of the website, under the heading
         “Patient/Caregiver”, Partners against Pain declared: “When you feel pain, your pain is
         real… Remember: You have every right to ask [doctors and nurses] to help you relieve
         the pain as much as possible.” This answer is self-serving and scientifically flawed.
         Medical literature notes that addiction pain and physiological pain overlap, and
         separating them presents unique challenges to the physician.52 Addiction has been shown
         to make patients even more sensitive to pain - and thus more likely to request pain
         medications.53 For example hyperalgesia, or diminished pain tolerance, is a sign of
         opioid withdrawal.54 Patients who are dependent on opioid medication will sometimes
         undergo withdrawal symptoms that manifest as pain.55 Implying that patients have a
         right to as much opioid as they wish minimizes the risk of addiction and perpetuates
         misinformation about addiction and pain perception.




49 Ibid.
50 “I Got My Life Back,” Partners Against Pain Brochure, Purdue Pharma, 1997, 8700300165.
51 Partners Against Pain website, Available at:

http://www.partnersagainstpain.com/html/main/index.htm, Acessed on September 8, 2003.
52 Compton, P., and Gebhart, G.F., “The Neurophysiology of Pain in Addiction,” as seen in The

Principles of Addiction Medicine, American Society of Addiction Medicine, (2nd ed. 1998), at 901, 912-
914.
53 Ibid. at 912.
54 Ibid.
55 Dickinson, “Use of Opioids to Treat Chronic, Noncancer Pain,” West J Med 2000; 172:107, 111.


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     12. Purdue has also misled patients through their production of a pamphlet and informational
         video, “From One Pain Patient to Another,” which encouraged patients to doctor-shop to
         find providers who were most willing to prescribe narcotics. Purdue told patients, “Don’t
         be afraid about the things you’ve heard about these drugs [opioids],” and, “...find the
         right doctor”… “I think it is very unfortunate that so many physicians are reluctant to
         treat people like me, who have moderate chronic pain, with opioids.” Purdue thus
         disparaged the conservative and cautious prescribing practices of many responsible health
         practitioners. Again, Purdue actively misinformed and inadequately warned patients and
         physicians of the addiction risks and withdrawal symptoms associated with OxyContin.


     13. Purdue has centered its promotional and marketing focus for OxyContin on the twice a
         day, every 12-hour dosing schedule. For example, when OxyContin was first introduced,
         Purdue stated that OxyContin offered a “significant advantage” because “unlike short-
         acting pain medications, which must be taken every 3 to 6 hours—often on an “as needed
         basis,” OxyContin tablets are taken every 12 hours, providing smooth and sustained pain
         control all day and all night.” Purdue’s 1998 OxyContin Budget Plan describes the
         importance of q12 dosing to sales, “Our marketing research indicates that the most
         important feature of OxyContin tablets, beyond the familiarity of oxycodone, is the q12h
         dosing schedule. In all seven pre-launch market research projects conducted among 626
         healthcare professionals, this was the most compelling reason to prescribe the OxyContin
         Tablets.”56


     14. However, Purdue’s marketing materials did not tell the entire story about the effective
         dose interval. In most clinical studies, OxyContin pain relief did not last for 12 hours.
         One of the first clinical trials showed that “half of the patients used IR (immediate
         release) oxycodone rescue almost daily,” revealing that the drug was not able to relieve
         pain for the full 12-hour dosing schedule.57 Scientists at Purdue and other independent
         labs conducted a number of clinical tests that found that OxyContin did not relieve pain
         for 12 hours. (Hagen and Babul, 1997, Kaplan et al, 1998) Hagen and Babul showed that
         a significant percentage of patients on OxyContin and Hydromorph Contin required
         rescue analgesic. They reported that, “the percentage of rescue analgesic use in the first,
         second and third 4-hour periods representing the combined 12-hour dosing frequency of
         controlled release oxycodone… was 23.8%, 42.8% and 33.3% for controlled release
         oxycodone (OxyContin.)”58 Kaplan et al similarly found that, “Among patients enrolled,
         after the amendment that allowed titration and rescue, 18 of 29 (62%) who received CR

56 Purdue Pharma Budget Plan, 1998, 4-41.
57 Citron ML, Kaplan R, Parris WC et al, Long-Term Administration of Controlled-Release
Oxycodone Tablets for the Treatment of Cancer Pain, Cancer Investigation, 1998;16(8): 563.
58 Hagen NA, Babul N, Comparative Clinical Efficacy and Safety of a Novel Controlled-Release

Oxycodone Formulation and Controlled-Release Hydromorphone in the Treatment of Cancer Pain,
Cancer, 1997 Apr 1;79(7): 1432.

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        oxycodone needed at least one supplemental (rescue) dose… During the day, the median
        time to first rescue use was 4 hours for the CR (OxyContin) group.”59


Below is a summary of my opinions followed by a compilation of materials that I read reviewed
or considered in compiling these opinions:


1) Purdue Pharma’s marketing was inappropriate and led to the abuse and misuse of OxyContin.
     a) Purdue Pharma marketed OxyContin based on claims that were scientifically invalid or
        unproven. For example:
        i) Purdue stated that “less than 1% of patients taking opioids actually become addicted”
           without any clinical data or valid scientific references.
            (1) Purdue misinformed their sales representatives for OxyContin. When asked in a
                quiz during one of the sales representatives training sessions a question
                concerning the risk of iatrogenic addiction, Purdue told them the correct answer
                was “less than one percent.”
        ii) Purdue said that iatrogenic addiction did not occur. Instead, they suggested that
            addiction only occurred when OxyContin was taken for illicit use. This is not true.
            (1) William Gergely, a former Purdue district sales manager, told the Florida
                Attorney General that top sales officials had described OxyContin as “non-habit
                forming.” Sales representatives were taught to tell doctors that drug abusers
                would not be interested in OxyContin.
     b) Purdue failed to include adequate warnings about the risk of addiction in their marketing
        materials. For example:
        i) Purdue was cited by the FDA on numerous occasions for failing to include adequate
           warnings on advertisements. The FDA cited Purdue in May of 2000 for an
           advertisement stating that OxyContin can be used for arthritis pain when in actuality;
           OxyContin is not a first-line therapy for arthritis. Purdue was later cited in 2002 for
           two advertisements in the Journal of the American Medical Association that failed to
           describe and adequately present the possible risks of taking OxyContin.
     c) OxyContin was recommended for inappropriate uses in marketing materials.
        i) OxyContin was promoted for osteoarthritis sufferers and “weekend warriors” as a
           substitute for much weaker and safer pain medications.



 Kaplan R, Parris WC, Citron ML, et al, Comparison of Controlled-Release and Immediate-Release
59

Oxycodone Tablets in Patients with Cancer Pain. J Clin Oncol. 1998 Oct;16(10):3232-33.

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       ii) Purdue manipulated the FDA approval process to assist in their marketing of
           OxyContin for treatment of osteoarthritis.
   d) Purdue inappropriately marketed OxyContin for q12h dosing.




2) Purdue Pharma’s warnings for Oxycontin were inappropriate and led to the abuse and misuse
   of OxyContin.
   a) Purdue’s Product labeling for OxyContin fails to warn adequately regarding abuse or
      addiction.
       i) Unlike similar drugs, OxyContin’s patient package insert does not state that the
          product may cause addiction nor does it directly acknowledge the risk of narcotic
          dependence.
       ii) Purdue Pharma’s warning labels in Europe have much stronger warnings about
           addiction risk than their warning for United States patients.
   b) Purdue used an FDA reprimand to expand the indications of OxyContin.


3) Purdue Pharma’s information about dose and drug kinetics was wrong.
   a) Purdue Pharma had no data to support their patent claims that at a dose range of 10 to 40
      every 12 hours, pain would be controlled in 90% of patients.
   b) Purdue told physicians to prescribe OxyContin for q12 h dosing while Purdue had
      information that proved that most patients needed to be dosed at different intervals.
   c) Purdue’s dosing recommendation for Oxy IR drugs was based on marketing and other
      considerations, but not science. Purdue either recommended too frequent use of Oxy IR
      (q6) or used inadequate doses of IR in its OxyContin efficacy trials (q6 vs q4-6) or both.
   d) Purdue has inaccurately made claims that "delayed absorption is believed to reduce the
      abuse liability of a drug.” Purdue has no scientific evidence to prove this claim nor have
      they ever tested the merits of this claim.
   e) Fundamental pharmacokinetic principles establish that, for a fixed total daily dose of
      OxyContin, peak plasma concentrations of oxycodone will be slightly lower, troughs in
      plasma concentrations of oxycodone will be slightly higher, and overall fluctuation in
      plasma concentrations will be slightly less, if OxyContin is administered every 8 hours
      than if OxyContin is administered every 12 hours. Purdue emphasized 12 hour dosing
      because the 12 hour dosing schedule represented a significant competitive advantage of
      OxyContin over other products.


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4) Purdue failed to institute post market surveillance. They failed to use the IMS system to
   determine the location of “pill mills” or problem physicians. They failed to establish a
   monitoring system for addiction issues and failed to monitor emergency rooms for deaths and
   other serious side effects associated with drug use. They may have monitored internet chat
   rooms but failed to compile or organize this information.


5) Purdue greatly expanded the problem of drug addiction and caused or contributed to
   numerous deaths.




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7 ADDITIONAL OPINIONS SINCE 2004

7.1         OPINION – 2004-7 INVESTIGATIONS INCLUDES OFF LABEL
      USES AND BAD REP BEHAVIOR FOR CEPHALON (TEVA)
See Exhibit B.1 hereto attached.


7.2         OPINION – IN 2011, WALGREENS PHARMACISTS WERE
      OPENING SECOND PHARMACIES UNDER FAMILY MEMBERS' NAMES
      - UNDER PRESSURE TO FILL SCRIPTS NOT CONTROL THEM.
See Exhibit B.2 hereto attached.


7.3        OPINION – WALGREENS SYSTEMS COULD BE MANIPULATED
      TO ALLOW STORES TO CIRCUMVENT QUANTITY RESTRICTIONS -
      KNOWN ISSUE - 'THIS IS HOW THE SYSTEM ALWAYS WORKED'.
See Exhibit B.3 hereto attached.


7.4        OPINION – THE “VENTURE” BRIBED THE SAME DOCTORS TO
      OVERPRESCRIBE.
See Exhibit B.4 hereto attached.


7.5        OPINION – THIS IS A DESCRIPTION OF DRUG PAYMENT
      FLOWS. I AGREE.
See Exhibit B.5 hereto attached.


7.6        OPINION – ACTAVIS PRESCRIPTION COUPONS DO NOT WARN
      OF ADDICTION RISKS AND OFFER $1200 OFF PER YEAR.
See Exhibit B.6 hereto attached.


7.7        OPINION – THE “VENTURE” ACTED IN CONCERT TO
      UNDERMINE THE RISKS OF OPIOID ADDICTION.
See Exhibit B.7 hereto attached.



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7.8          ALL FOR ONE AND ONE FOR ALL – THE “VENTURE” KNEW
       COLLECTIVE MARKETING INCREASED THE SIZE OF THE OPIOID PIE.
       SIMILARLY HAD ANY “VENTURE” MEMBER BROKEN RANKS, THE
       OPIOID MARKET WOULD HAVE SLOWED OR IF THE COMPLETE TRUTH
       WAS TOLD (NO EFFICACY AND HIGH ADDICTION RISK) THE MARKET
       WOULD HAVE CRASHED.

See Exhibit B.8 hereto attached.


7.9          OPINION – THERE IS NO SCIENTIFICALLY AUTHORITATIVE
       EVIDENCE TO SUPPORT THE CLAIM THAT OPIOIDS ARE MORE
       EFFECTIVE THAN PLACEBO AND OTHER NON-OPIOID ALTERNATIVES
       FOR CHRONIC NON-MALIGNANT PAIN. THERE IS EVIDENCE THAT
       OPIOIDS ARE NO MORE EFFECTIVE THAN NON-OPIOID ALTERNATIVES
       FOR CHRONIC NON-MALIGNANT PAIN.

See Exhibit B.9 hereto attached.


7.10         OPINION – I AGREE WITH ASHP (AMERICAN SOCIETY OF
       HOSPITAL PHARMACISTS) FORMULARY MANAGEMENT GUIDELINE

See Exhibit B.10 hereto attached.


7.11        OPINION – PATIENTS TREATED WITH PRESCRIPTION
       OPIOIDS GET ADDICTED.
See Exhibit B.11 hereto attached.


7.12        OPINION – CARDINAL FAILED TO TAKE ACTION FOR
       SUSPICIOUS ORDERS.
See Exhibit B.12 hereto attached.


7.13       OPINION – COLLABORATION AND PEER INFLUENCE YIELD
       FORMULARY ACCESS FOR JANSSEN IN CLEVELAND
See Exhibit B.13 hereto attached.




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7.14        OPINION – COMPANIES SHOULD NOT MARKET NARCOTICS
       TO ELEMENTARY SCHOOL STUDENTS DIRECTLY OR INDIRECTLY.
See Exhibit B.14 hereto attached.


7.15         OPINION – OPIOID TOLERANCE IS DEFINED AS:
See Exhibit B.15 hereto attached.


7.16         OPINION – THE OHIO DEFINITION OF CHRONIC PAIN.
See Exhibit B.16 hereto attached.


7.17         OPINION – DICTIONARY OF TERMS FOR WHOLESALER
       AGREEMENTS
See Exhibit B.17 hereto attached.


7.18         OPINION – THE “VENTURE” ACTED IN CONCERT TO
       CIRCUMVENT PRESCRIBING PHYSICIANS BY MARKETING DIRECTLY
       TO CONSUMERS AS WELL AS HEALTH CARE PROFESSIONALS,
       FORMULARIES, MEDICAL AND NURSING SCHOOLS AND STATE
       MEDICAL BOARDS TO PROMOTE INCREASED USE OF OPIOIDS.

See Exhibit B.18 hereto attached.


7.19        OPINION – DISCONTINUATION OF OPIOIDS REDUCES PAIN IN
       SOME PATIENTS
See Exhibit B.19 hereto attached.


7.20        OPINION – DISTRIBUTORS DISPENSE IN DOCTORS' OFFICES
       AND CLINICS AND OFFER PRACTICE MANAGEMENT TOOLS.
See Exhibit B.20 hereto attached.




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7.21        OPINION – WALGREENS SOLUTION TO RED FLAGGED STORES
       WAS TO FIND A DISTRIBUTER WHO WOULD SELL TO THEM. ALL 3
       WALGREENS DISTRIBUTOR FACILITIES FAILED TO IMPLEMENT
       SOM PROCEDURES.
See Exhibit B.21 hereto attached.


7.22        OPINION – THE “VENTURE” EXPANDED THE MARKET BY
       PROMOTING INAPPROPRIATE USE (LOW BACK SPASM) OF 3 YEARS
       DURATION WITH “SOME PAIN”.
See Exhibit B.22 hereto attached.


7.23         OPINION – THE “VENTURE” INTRODUCED THE CONCEPT OF
       THE “5TH VITAL SIGN” IN 1995, BUT LATER ALLOWED AMERICAN
       PAIN SOCIETY TO PROMOTE IT AS ITS OWN CREATION TO
       ENHANCE THE SALES OF OPIOIDS.
See Exhibit B.23 hereto attached.


7.24        OPINION – ABBOTT AND PURDUE TARGETED INAPPROPRIATE
       PHYSICIANS FOR USE OF OPIOIDS FOR CHRONIC PAIN.
See Exhibit B.24 hereto attached.


7.25         OPINION – AMERICAN PAIN FOUNDATION (“APF”) FRONTED
       FOR INDUSTRY TO INCREASE SALES.
See Exhibit B.25 hereto attached.


7.26        OPINION – “VENTURE” MEMBER ENDO FUNDED SEVERAL
       FRONT ORGANIZATIONS AND FUNDED NIH PUBLICATIONS AND
       VARIOUS “EDUCATIONAL” EVENTS.
See Exhibit B.26 hereto attached.




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7.27        OPINION –CEPHALON’S ACTIQ WAS NOT INDICATED FOR,
       BUT WAS MARKETED OFF LABEL FOR MINOR PAIN.
See Exhibit B.27 hereto attached.


7.28         OPINION – CHRONIC LONG ACTING OPIOIDS ARE NOT
       INDICATED FOR TREATMENT OF OSTEOARTHRITIS, LOW BACK PAIN
       OR FIBROMYALGIA. OPIOIDS ARE NOT INDICATED AT ALL FOR
       RHEUMATOID ARTHRITIS OR FIBROMYALGIA.
See Exhibit B.28 hereto attached.


7.29         OPINION – CORPORATE INTEGRITY AGREEMENTS
       INDICATING THAT EACH OF THESE COMPANIES VIOLATED FDA
       RULES.
See Exhibit B.29 hereto attached.


7.30         OPINION – DOCTORS ON THE “VENTURE’S” PAYROLL
       ADMITTED THAT PSEUDOADDICTION DESCRIBES BEHAVIORS
       ‘CLEARLY CHARACTERIZED AS DRUG ABUSE’ AND PUT THE
       “VENTURE” AT RISK OF ‘SANCTIONING ABUSE.’
See Exhibit B.30 hereto attached.


7.31         OPINION – FORMULARY ACCESS IS KEY TO SALES -
       FORMULARY RESTRICTIONS HAD THE LARGEST INFLUENCE ON
       PRESCRIBING - PURDUE USED INFLUENCE TO GET OXYCONTIN ON
       MAYO CLINIC FORMULARY.
See Exhibit B.31 hereto attached.


7.32        OPINION – GETTING ON THE FORMULARY IN OHIO WAS
       IMPORTANT TO JOHNSON & JOHNSON.

See Exhibit B.32 hereto attached.




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7.33        OPINION – THE BIG THREE DISTRIBUTOR DEFENDANTS USE
       GROUP PURCHASING ORGANIZATIONS (GPO’S).
See Exhibit B.33 hereto attached.


7.34         OPINION – HARMS OF LAO FOR CHRONIC PAIN OUTWEIGH
       THE RISKS.

See Exhibit B.34 hereto attached.


7.35        OPINION – IN 1997, PURDUE SECRETLY ACKNOWLEDGED THE
       ABUSE POTENTIAL OF OXYCONTIN. THEY EVEN KNEW THAT
       PATIENTS IN SHORT TERM STUDIES MANIFESTED BEHAVIOR
       SUSPICIOUS OF ADDICTION. PURDUE MARKETING SAID THE
       OPPOSITE CREATING ANTI-WARNINGS FALSELY REASSURING
       PRESCRIBERS THAT THE RISK OF ADDICTION WAS LOW OR ABSENT.
       IN ADDITION, PURDUE CHOSE TO NOT ESTABLISH A POST-MARKET
       ABUSE MONITORING SYSTEM TO EVALUATE THE EXTENT OF
       DIVERSION AND ADDICTION. PURDUE TREATED THE PRESCRIBERS AS
       MUSHROOMS.

See Exhibit B.35 hereto attached.


7.36         OPINION – IN 2004 I TOLD PURDUE THEY WERE DOING ALL
       THESE BAD THINGS. THEY CONTINUED TO DO THEM AND WORSE

See Exhibit B.36 hereto attached.


7.37         OPINION – FROM THE MID TO THE LATE 2000S, MARKETING
       SHIFTED TO INTEGRATED DELIVERY NETWORKS FROM INDIVIDUAL
       DOCTORS. AS A RESULT, DOCTORS ARE LOCKED INTO DRUG
       FORMULARIES.
See Exhibit B.37 hereto attached.


7.38         OPINION – OPIOID PRODUCTS SHOULD HAVE INCLUDED THE
       FOLLOWING WARNINGS

See Exhibit B.38 hereto attached.

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7.39         OPINION – OPIOIDS ARE ADDICTIVE.
See Exhibit B.39 hereto attached.


7.40        OPINION – PURDUE AND THE FDA CONCLUDED PALLADONE
       WAS LETHAL AND ITS RISKS OUTWEIGHED ITS BENEFITS BUT
       THEY DID NOT ISSUE A RECALL. PURDUE ISSUED RECALLS FOR
       DRUGS THAT WOULD NOT INJURE PATIENTS IF SOLD. THE
       NUMBER OF PATIENTS WHO DIED AS A RESULT IS UNKNOWN.
See Exhibit B.40 hereto attached.


7.41         OPINION – PURDUE CLAIMS IT DISCONTINUED DISTRIBUTION
       OF 160 MG PILL IN APRIL 2001 BUT THIS REMAINED A DOSE IN THE
       LABEL. THUS, MEDICAL DOCTORS WOULD BE GIVEN THE
       MISIMPRESSION THAT 640 MG A DAY WAS AN APPROVED DOSE.

See Exhibit B.41 hereto attached.


7.42         OPINION – PURDUE HIRED PROSTITUTES TO PROMOTE
       OXYCONTIN CR. THIS IS WRONG. PURDUE DISCUSSED VARIOUS
       WAYS TO CAPITALIZE ON SEX.

See Exhibit B.42 hereto attached.


7.43        OPINION – PURDUE KNEW THAT OXYCONTIN HAD KILLED
       HUMAN BEINGS WHO TOOK INEFFECTIVE DOSES OF OXYCONTIN.

See Exhibit B.43 hereto attached.


7.44         OPINION – PURDUE OXY CHAIN
See Exhibit B.44 hereto attached.


7.45         OPINION – PURDUE USED SEX TO SELL. THIS IS WRONG.
See Exhibit B.45 hereto attached.




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7.46         OPINION – PURDUE VIOLATED ITS CIA
See Exhibit B.46 hereto attached.


7.47         OPINION – SACKLER FRAUD BEGAN EARLY - SEE GLUTAVITE
       AD.

See Exhibit B.47 hereto attached.


7.48        OPINION – THE WORDS DETAILED AND THOROUGH WERE
       DELIBERATELY REMOVED BY PURDUE FROM ITS ORDER
       MONITORING SYSTEM STANDARD OPERATING PROCEDURE AS
       PURDUE’S INTENT WAS NOT TO BE DETAILED AND THOROUGH.
See Exhibit B.48 hereto attached.


7.49        OPINION – TEVA OFF LABEL MARKETING CREATED A
       REVERSE CORPORATE INTEGRITY AGREEMENT VIOLATION.
See Exhibit B.49 hereto attached.


7.50        OPINION – TEVA OFF LABEL MARKETED TO NON-CANCER
       PATIENTS. CNMP PAIN IS NOT CANCER PAIN.
See Exhibit B.50 hereto attached.


7.51        OPINION – THE “VENTURE” INFLUENCED WHO GUIDELINES
       AND THEN USED THEM TO UP SELL.
See Exhibit B.51 hereto attached.


7.52        OPINION – THE “VENTURE” (INCLUDING TEVA) USED SEX
       TO SELL.
See Exhibit B.52 hereto attached.




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7.53        OPINION – THE FDA AGREES THAT THERE IS INSUFFICIENT
       EVIDENCE THAT THE RISK OF OPIOIDS OUTWEIGHS THE BENEFITS
       FOR TREATMENT OF CHRONIC NON-MALIGNANT PAIN.
See Exhibit B.53 hereto attached.


7.54        OPINION – PATIENT SAVINGS CARD PROGRAMS BOTH
       INCREASE AND PROLONG THE USE OF OPIOIDS.
See Exhibit B.54 hereto attached.


7.55        OPINION – WALGREENS CONTACTED OVER PRESCRIBING
       DOCTORS. THIS WAS A GOOD THING TO DO. TOO LITTLE TOO LATE
       HOWEVER.
See Exhibit B.55 hereto attached.


7.56        OPINION – WALGREENS KNEW PHARMACISTS COULD
       MANIPULATE QUANTITIES WITH THE AS400 SOFTWARE AND THEY
       KNEW THIS COULD RESULT IN CRIMINAL NOT JUST CIVIL
       ACTIONS.
See Exhibit B.56 hereto attached.


7.57        OPINION – ENDO, J&J, MALLINCKRODT AND TEVA AND
       PURDUE USED THE SAME COMPANY TO BUILD THEIR KEY OPINION
       LEADER (KOL) DATABASE.
See Exhibit B.57 hereto attached.


7.58         OPINION – IN 2001, THE “VENTURE” WAS ON NOTICE ABOUT
       THE RISKS INHERENT IN SALE OF OPIOIDS FOR CHRONIC PAIN
       AND TOOK STEPS TO UNDERMINE WARNINGS ABOUT THESE RISKS.
       I AGREE WITH HOLMBERG.
See Exhibit B.58 hereto attached.




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7.59        OPINION – THE “VENTURE’S” “EVOLVED MESSAGE” WAS OR
       SHOULD HAVE BEEN KNOWN IN 1995.
See Exhibit B.59 hereto attached.


7.60         OPINION –THE FDA NEGOTIATED A DEAL WITH ROXANE
       ALLOWING ROXANE TO MARKET 15 AND 30 IR BASED ON A 505
       (B2) IN EXCHANGE FOR ROXANE’S AGREEMENT TO NOT SELL SR.
See Exhibit B.60 hereto attached.


7.61        OPINION – OXYCONTIN DOSES ESCALATED RAPIDLY
       BECAUSE FOR MOST PATIENTS IT WAS NOT A 12 HOUR DRUG.
See Exhibit B.61 hereto attached.


7.62        OPINION – WHEN THE FDA TRIED TO LIMIT USE IN 2001 BY
       CHANGING THE LABEL FROM “MORE THAN A FEW DAYS” TO
       “EXTENDED PERIOD OF TIME”, THE “VENTURE” USED THIS
       LANGUAGE TO INCREASE THE MARKET.
See Exhibit B.62 hereto attached.


7.63        OPINION – DOCTORS ON THE “VENTURE’S” PAYROLL
       ADMITTED THAT PSEUDOADDICTION DESCRIBES BEHAVIORS
       ‘CLEARLY CHARACTERIZED AS DRUG ABUSE’ AND PUT THE
       “VENTURE” AT RISK OF ‘SANCTIONING ABUSE’ WHICH THEY DID.
See Exhibit B.63 hereto attached.


7.64        OPINION – DR. HADDOX AND PURDUE KNEW THAT
       PRESCRIBERS’ PERCEPTION OF THE RISK OF OPIOIDS WITH RESPECT
       TO ABUSE AND ADDICTION AMONG CHRONIC PAIN PATIENTS SHOULD
       BE INCREASED TWOFOLD.

See Exhibit B.64 hereto attached.




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7.65         OPINION – THERE IS A DUTY TO MONITOR MARKETING.
See Exhibit B.65 hereto attached.


7.66       OPINION – “VENTURE” DISTRIBUTOR ABC WORKED WITH
       MANUFACTURES TO MARKET OPIOIDS.
See Exhibit B.66 hereto attached.


7.67        OPINION – FORMULARIES HAVE AN UNOFFICIAL “IF YOU
       ADD ONE YOU DELETE ONE” POLICY.
See Exhibit B.67 hereto attached.


7.68         OPINION – THE “VENTURE” ACTED IN CONCERT TO EXPAND
       THE INDICATIONS FOR USE OF OPIOIDS TO TREAT DISEASES FOR
       WHICH OPIOIDS WERE NOT INDICATED AND INCREASE THE DAILY
       DOSE AND DURATION OF USE OF OPIOIDS AND INCREASE THE USE
       OF LONG ACTING OPIOIDS.
See Exhibit B.68 hereto attached.


7.69         OPINION – THE “VENTURE” CORRUPTED THE FDA.
See Exhibit B.69 hereto attached.


7.70         OPINION –FDA FAILED TO PROPERLY REGULATE OPIOID
       INDICATIONS. WHEN THE FDA TRIED TO LIMIT USE IN 2001 BY
       CHANGING THE LABEL FROM “MORE THAN A FEW DAYS” TO
       “EXTENDED PERIOD OF TIME”, THE “VENTURE” USED THIS
       LANGUAGE TO INCREASE THE MARKET.
See Exhibit B.70 hereto attached.




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7.71        OPINION – THE “VENTURE” USED THE REVOLVING DOOR
       FDA-INDUSTRY TO GET FAVORABLE RULINGS TO ENABLE THEM
       TO EXPAND THE MARKET TO PATIENTS WHO THEY AND THE FDA
       KNEW WERE INAPPROPRIATE FOR LONG TERM NARCOTICS.
See Exhibit B.71 hereto attached.


7.72        OPINION – THE HEAD OF THE DIVISION OF THE FDA
       RESPONSIBLE FOR OPIOIDS BEING APPROVED IS NOT A
       ‘WATCHDOG’ TO THE AMERICAN PEOPLE.
See Exhibit B.72 hereto attached.


7.73        OPINION – THERE ARE FINANCIAL INTERLINKS BETWEEN
       THE WHOLESALERS (DISTRIBUTORS) AND EVERYONE ELSE IN THE
       CHAIN.
See Exhibit B.73 hereto attached.


7.74        OPINION – THE “VENTURE” TARGETED VULNERABLE
       ELDERLY AND HAD TO CONVINCE DOCTORS TO USE OPIOIDS ON
       NURSING HOME PATIENTS.
See Exhibit B.74 hereto attached.


7.75         OPINION – FORMULARY ACCESS IS KEY TO SALES.
See Exhibit B.75 hereto attached.


7.76         OPINION – FORMULARY VERY IMPORTANT
See Exhibit B.76 hereto attached.




CONFIDENTIAL                                                                  73
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7.77        OPINION – JANSSEN TARGETED YOUTH AND ATHLETES.
       JOHNSON & JOHNSON WAS PART OF PAIN COALITION WITH
       JANSSEN THAT TARGETED YOUTH. PAIN IS NOT A DISEASE. JOHNSON
       & JOHNSON AND JANSSEN ENGAGED IN ACTIONS TARGETED AT
       DIRECTLY INFLUENCING POTENTIAL PATIENTS AND CHILDREN.

See Exhibit B.77 hereto attached.


7.78         OPINION – LIMITING THE INITIAL NUMBER OF PILLS
       DISPENSED REDUCES ABUSE. THE “VENTURE” SHOULD HAVE TOLD
       PRESCRIBERS THIS.

See Exhibit B.78 hereto attached.


7.79         OPINION – THERE IS NO SCIENTIFICALLY AUTHORITATIVE
       ESTIMATE OF THE NUMBER OF PEOPLE WHO EXPERIENCE
       CHRONIC NON-MALIGNANT PAIN. THE ORIGINAL 100 MILLION
       NUMBER WAS A MYTH BASED ON A HARRIS POLL FUNDED BY
       ORTHO-MCNEIL. HERE IS NO AGREED DEFINITION OF “CHRONIC
       PAIN.” PHONE AND OTHER SURVEYS CANNOT ASSESS THIS
       QUESTION. TO ASSESS THIS QUESTION, PHYSICIANS NEED TO
       INTERVIEW SUBJECTS TO DETERMINE IF THE “PAIN” IS CAUSED
       BY WORK, PSYCHIATRIC OR SOCIAL ISSUES OR OTHER ACTIVITY
       (SPORTS) VS AN EPIPHENOMENON OF A PHYSICAL INJURY. FOR
       EXAMPLE, NO STUDY HAS EVALUATED THE IMPACT OF PATIENTS
       ADDICTED TO OPIOIDS USING “PAIN COMPLAINTS” TO ACQUIRE
       OPIOIDS ON THE ESTIMATES. NO STUDY HAS EVALUATED THE
       CULTURAL DIFFERENCES RELATED TO THE GENERATION OF
       “PAIN” COMPLAINTS. COMPARE FOR EXAMPLE ISRAEL OR ITALY
       TO FINLAND.
See Exhibit B.79 hereto attached.


7.80         OPINION – THE “VENTURE” HID THEIR FUNDING OF
       RESEARCH BY LAUNDERING THE MONEY THROUGH THIRD PARTIES.

See Exhibit B.80 hereto attached.


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7.81        OPINION – THE “VENTURE” SHOULD HAVE KNOWN THAT
       HIGHER DOSES KILL AND WARNED ABOUT THIS.
See Exhibit B.81 hereto attached.


7.82        OPINION – THE “VENTURE’S” MARKETING INFLUENCES
       DOCTORS.
See Exhibit B.82 hereto attached.


7.83        OPINION – MALLINCKRODT AND WALGREENS AGREEMENTS
       INCLUDE CO-MARKETING.
See Exhibit B.83 hereto attached.


7.84         OPINION – MARKETING IMPACTS ON SALES.
See Exhibit B.84 hereto attached.


7.85         OPINION: MCKESSON AND PURDUE CO-MARKETED PURDUE
       DRUGS
See Exhibit B.85 hereto attached.


7.86         OPINION – MCKESSON PUSHED OXYCONTIN
See Exhibit B.86 hereto attached.


7.87         OPINION – MS CONTIN AND OXYCONTIN HAVE A SIMILAR
       CHEMICAL MAKEUP AND SHOULD HAVE SIMILAR WARNINGS. A
       COMPARISON OF THE OXYCONTIN AND MS CONTIN PACKAGE
       INSERTS SHOW AN AFFIRMATIVE “UNDERWARNING” BY PURDUE OF
       THE HEALTH RISKS OF OXYCONTIN.

See Exhibit B.87 hereto attached.


7.88         OPINION – PURDUE DESTROYED INFORMATIONAL MATERIALS.
See Exhibit B.88 hereto attached.



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7.89        OPINION – PURDUE KNEW THAT INAPPROPRIATE PATIENTS
       WERE GETTING OXYCONTIN.

See Exhibit B.89 hereto attached.


7.90        OPINION – PURDUE’S INAPPROPRIATE MARKETING IS
       DESCRIBED HERE.

See Exhibit B.90 hereto attached.


7.91 OPINION – WALGREENS DEVELOPED AN INTERVENTION FOR OVER
     PRESCRIBING MEDICAL DOCTORS IN 2013.
See Exhibit B.91 hereto attached.


7.92        OPINION – WALGREENS GOOD FAITH DISPENSING POLICY
       PILOTS SHOW HIGH DOSE OPIATE PRESCRIBERS AVOIDING
       WALGREENS – SHIFT TO OTHER STORES.
See Exhibit B.92 hereto attached.


7.93        OPINION – PURDUE AND WALGREENS CIRCUMVENTED A
       DOJ PLEA DEAL
See Exhibit B.93 hereto attached.


7.94       OPINION – TEVA VIOLATIONS OF GOOD SALES AND
       MARKETING PRACTICES.
See Exhibit B.94 hereto attached.


7.95         OPINION – WALGREENS BAD CONDUCT EXAMPLES.
See Exhibit B.95 hereto attached.


7.96         OPINION – THE “VENTURE” GROSSLY MISLED DISTRIBUTORS
       AND PATIENTS WITH THE CLAIM THAT “FEAR OF ADDICTION IS
       EXAGGERATED” WITHOUT OFFERING SUPPORTING EVIDENCE.

See Exhibit B.96 hereto attached.

CONFIDENTIAL                                                                  76
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7.97        OPINION – TITRATION IS THE KEY FOR A “BIGGER BONUS”
       FOR THE “VENTURE” EVEN IF IT MEANS “ESCALATING DOSAGE
       AND NUMBER OF TABLETS”.
See Exhibit B.97 hereto attached.


7.98        OPINION – IN THE ONLY LONG-TERM STUDY OF HIGH DOSE
       OPIOID RX THERE WERE HIGH RATES OF ADDICTION
See Exhibit B.98 hereto attached.


7.99         OPINION – MARKETING WORKS FENTORA EXAMPLE RETURN
       ON INVESTMENT
See Exhibit B.99 hereto attached.


7.100    OPINION – HEALTHCARE DISTRIBUTION MANAGEMENT ASSN
    (HDMA NOW HDA) WAS RESPONSIBLE FOR SALE OF
    UNAPPROVED OPIOIDS
See Exhibit B.100 hereto attached.


7.101    OPINION – I AGREE WITH THE UNIVERSITY OF WASHINGTON
    SELF-ANALYSIS. THIS IS NOT ALWAYS THE CASE BUT IT WAS FOR
    THEM. “THEY SAY WHOEVER FUNDS YOUR ORGANIZATION OWNS
    IT!”
See Exhibit B.101 hereto attached.


7.102        OPINION – IMMPACT HAD IMPACT
See Exhibit B.102 hereto attached.


7.103    IMMPACT WAS “VENTURE’S” SUCCESSFUL EFFORT TO
    HAVE THE FDA ADOPT POOR EPIDEMIOLOGIC PRACTICES TO
    APPROVE OPIOIDS. IT WAS PAY TO PLAY AND PROBABLY
    VIOLATED ANT-TRUST LAWS AS WELL.
See Exhibit B.103 hereto attached.


CONFIDENTIAL                                                                  77
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7.104    OPINION – IRONICALLY THE UNDER TREATMENT OF
    AFRICAN AMERICANS AND HISPANICS PROTECTED THEM FROM
    OPIOID DEATHS
See Exhibit B.104 hereto attached.


7.105    OPINION – JANSSEN PARTICIPATED IN IMMPACT PAY TO
    PLAY PROGRAM
See Exhibit B.105 hereto attached.


7.106    OPINION – JANSSEN VIOLATED ITS CORPORATE INTEGRITY
    AGREEMENT
See Exhibit B.106 hereto attached.


7.107     OPINION – THE DOJ RECOGNIZED THAT WALGREENS'
    DIVERSION PROBLEMS STEMMING FROM ITS JUPITER, FL
    DISTRIBUTION CENTER, IMPACTED OHIO USERS
See Exhibit B.107 hereto attached.


7.108    OPINION – MALLINCKRODT KNEW MARKETING INFLUENCED
    DOCTOR PRESCRIBING OF OPIOIDS
See Exhibit B.108 hereto attached.


7.109        OPINION – MANUFACTURERS USED WHOLESALERS AS
     CONDUIT FOR MARKETING

See Exhibit B.109 hereto attached.


7.110     OPINION – MCKESSON CONTROLLED MARKET SHARE OF
     VARIOUS OPIOIDS.

See Exhibit B.110 hereto attached.




CONFIDENTIAL                                                                  78
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7.111    OPINION – MCKESSON PROVIDED THE “VENTURE” BANG
    FOR THE BUCK IN TERMS OF ENHANCED SALES.
See Exhibit B.111 hereto attached.


7.112   OPINION – I AGREE WITH PURDUE’S ANALYSIS OF ITS
    MARKETING OBLIGATIONS. THEY VIOLATED THEM.
See Exhibit B.112 hereto attached.


7.113      OPINION – THE “VENTURE” ENCOURAGED SALES REPS TO
     PUSH DOCTORS TO “INDIVIDUALIZE THE DOSE” TO INCREASE
     PATIENTS’ DOSAGES OF OPIOIDS.

See Exhibit B.113 hereto attached.


7.114      OPINION – THE “VENTURE” FOUND THAT MARKETING WAS
     ESPECIALLY IMPORTANT TO SELL HIGHER DOSES OF OPIOIDS, SO THE
     “VENTURE” SPECIFICALLY FOCUSED ON MARKETING HIGH-DOSE
     OPIOIDS.

See Exhibit B.114 hereto attached.


7.115     OPINION – I AGREE WITH THE OIG EVALUATION OF
    PROMOTION OF PRESCRIPTION DRUGS THROUGH PAYMENTS AND
    GIFTS (OEI-01-90-00480; 8/91)
See Exhibit B.115 hereto attached.


7.116     OPINION – IN 2000, OXYCONTIN WAS IN 89% OF THE
     FORMULARIES IN OHIO

See Exhibit B.116 hereto attached.


7.117     OPINION – PALERMO – PURDUE ATTEMPTS TO SMOKE SCREEN
     THE FDA ABOUT RELEASE TIMES FOR OXYCONTIN.

See Exhibit B.117 hereto attached.



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7.118    OPINION – THE “VENTURE” USED FOOD AND “VOUCHERS”
    TO SELL – TEVA’S CEPHALON
See Exhibit B.118 hereto attached.


7.119        OPINION – OPIOIDS ARE TOXIC.
See Exhibit B.119 hereto attached.


7.120        OPINION – 3RD PARTY MARKETING IS MOST EFFECTIVE.
See Exhibit B.120 hereto attached.


7.121     OPINION – AMERISOURCE BERGEN (“ABC”) WANTED TO
    ‘LOW KEY’ (HIDE) ITS ASSOCIATION WITH PAIN CARE FORUM
    (“PCF”).
See Exhibit B.121 hereto attached.


7.122      OPINION – ALL MARKETING SHOULD HAVE STATED DISEASES
     AND INJURIES THAT ARE NOT ‘MODERATE PAIN.’

See Exhibit B.122 hereto attached.


7.123      OPINION – ALLERGAN DATA DOES NOT PROVIDE EVIDENCE
     THAT ALLERGAN’S OPIOIDS WORK FOR CHRONIC NON-MALIGNANT
     PAIN.

See Exhibit B.123 hereto attached.


7.124      OPINION – ANY MARKETING OF ANY OPIOID FOR A SPECIFIC
     DISEASE IS “OFF LABEL”.

See Exhibit B.124 hereto attached.


7.125        OPINION – “VENTURE” MEMBER CEPHALON ENCOURAGED
     OVERUSE BY OFF LABEL MARKETING

See Exhibit B.125 hereto attached.



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7.126        OPINION – “VENTURE” MEMBER JANSSEN ENGAGED IN A
     VARIETY OF ACTIVITIES TO UNDERMINE RISK OF ADDICTION AND
     INCREASE USE IN PATIENT WHERE USE WAS NOT OR
     CONTRAINDICATED. THEY ALSO USED FRONT GROUPS TO ASSIST.

See Exhibit B.126 hereto attached.


7.127     OPINION – “VENTURE” MEMBER JANSSEN (JOHNSON &
    JOHNSON) ENGAGED IN A VARIETY OF ACTIVITIES TO UNDERMINE
    RISK OF ADDICTION AND INCREASE INAPPROPRIATE USE. THEY ALSO
    USED FRONT GROUPS TO ASSIST.

See Exhibit B.127 hereto attached.


7.128        OPINION – “VENTURE” MEMBER MALLINCKRODT
     MISREPRESENTED PROPER DOSING TO ITS SALES REPRESENTATIVES.

See Exhibit B.128 hereto attached.


7.129      OPINION – “VENTURE” MEMBER MCKESSON MARKETED
     OPIOIDS.

See Exhibit B.129 hereto attached.


7.130     OPINION – “VENTURE” MEMBER TEVA USED MARKETING TO
     UNDERMINE ADDICTION RISK AND MARKET DIRECTLY TO PATIENTS.

See Exhibit B.130 hereto attached.


7.131     OPINION – COCHRANE EVALUATIONS DO NOT WORK FOR SIDE
     EFFECTS.

See Exhibit B.131 hereto attached.


7.132      OPINION – CONTROL OF INAPPROPRIATE DISPENSING DID
     NOT IMPACT ON PATIENT NEED FOR PAIN CONTROL.

See Exhibit B.132 hereto attached.



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7.133    OPINION – CUYAHOGA COUNTY RELIED ON ITS PHARMACY
    BENEFIT MANAGER TO DETERMINE ITS FORMULARY.
See Exhibit B.133 hereto attached.


7.134    OPINION – DEA ALERTED WALGREENS ABOUT IT’S BAD
    PRACTICES AND A PHARMACIST’S DUTY.
See Exhibit B.134 hereto attached.


7.135        OPINION – DISTRIBUTOR MARKETING DROVE SALES.
See Exhibit B.135 hereto attached.


7.136      OPINION – ENDO SOUGHT TO INFLUENCE FORMULARY
     DECISIONS BY FINDING PEOPLE TO INFLUENCE.

See Exhibit B.136 hereto attached.


7.137     OPINION – ENDO WAS EITHER TOO CHEAP TO ADD ITS OPIOID
     LABELS TO THE 2014 PDR OR COMPLETELY IRRESPONSIBLE FOR
     THIS FAILURE TO WARN DOCTORS OF ANY DATA CONCERNING THESE
     DANGEROUS DRUGS.

See Exhibit B.137 hereto attached.


7.138     OPINION – “VENTURE” DISTRIBUTORS MARKETED OPIOIDS
     FOR MANUFACTURERS.

See Exhibit B.138 hereto attached.


7.139    OPINION – ROXANE DID NOT PROVIDE SOUND SCIENCE TO
    THE FDA.
See Exhibit B.139 hereto attached.




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7.140    OPINION – FDA APPROVALS WERE NOT BASED ON SOUND
    SCIENCE PROVIDED BY PURDUE. EVEN THE SACKLERS AND
    PURDUE AGREE. SELLERS OF OXYCODONE SHOULD HAVE WARNED
    ABOUT HIGHER BLOOD LEVELS IN PEOPLE OLDER THAN 65.
See Exhibit B.140 hereto attached.


7.141        OPINION – FORMULARY ACCESS WAS CRUCIAL
See Exhibit B.141 hereto attached.


7.142        OPINION – FORMULARY ACCESS WAS/IS KEY TO SALES.
See Exhibit B.142 hereto attached.


7.143     OPINION – PURDUE’S DAVID HADDOX MADE MANY
    MISLEADING STATEMENTS TO THE PRESS, BLAMING THE VICTIM
    INSTEAD OF THE “VENTURE” FOR ADDICTION, MINIMIZING
    ADDICTION RISK, OVERDOSE RISK, OPIOIDS WERE SAFE AND
    EFFECTIVE [160 MG PILL AND PALLADONE REMOVED].
See Exhibit B.143 hereto attached.


7.144    OPINION – I ADOPT ALL OF DR. SAPER’S ANALYSIS OF
    THE HISTORY OF THE ORIGINS OF THE OPIOID EPIDEMIC
See Exhibit B.144 hereto attached.


7.145        OPINION – IN 1995, PURDUE AND ABBOTT KNEW THAT THERE
     WAS A PAIN CATEGORY BETWEEN MODERATE AND SEVERE BUT THEY
     NEVER DISCLOSED THIS.

See Exhibit B.145 hereto attached.




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7.146    OPINION – IN 2001, THE FDA TOLD PURDUE NOT TO MARKET
    OXYCONTIN FOR TREATMENT OF OSTEOARTHRITIS OR LOW BACK
     PAIN BY ORDERING THEM TO DELETE SPECIFIC MENTION OF THESE
     DISEASES FROM THE LABEL. PURDUE TURNED THIS ORDER ON ITS
     HEAD, USING THE CHANGE TO REMOVE ALL LIMITS TO PRESCRIBING
     FOR ANY DISEASE WHERE THE PATIENT HAD MODERATE TO SEVERE
     PAIN.

See Exhibit B.146 hereto attached.


7.147        OPINION – JICK SOLICITED MONEY FROM PURDUE
See Exhibit B.147 hereto attached.


7.148     OPINION – MARKETING TO FIRST GRADERS IS UNETHICAL AND
     DISGUSTING.

See Exhibit B.148 hereto attached.


7.149      OPINION – DOCTORS RESPOND TO MARKETING MESSAGES
     AND INCREASE PRESCRIPTIONS.

See Exhibit B.149 hereto attached.


7.150      OPINION – NO ONE KNOWS WHAT CHRONIC PAIN IS AND THE
     DEFINITION IS A MOVING TARGET. IT IS NOT A DISEASE.

See Exhibit B.150 hereto attached.


7.151      OPINION – NONE OF THE “VENTURE” EVER PERFORMED
     TOXICOLOGY OR SAFETY TESTING ON OXYCODONE.

See Exhibit B.151 hereto attached.


7.152     OPINION – ONE OR MORE OF PURDUE’S “REDER’S
     DOC[TOR]S” AT THE FDA WERE ON THE FDA OXYCONTIN LABEL
     REVIEW TEAM IN 2001.

See Exhibit B.152 hereto attached.


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7.153         OPINION – OXYCONTIN WAS NOT APPROVED FOR PERSISTENT
     PAIN.

See Exhibit B.153 hereto attached.


7.154     OPINION – PAIN TREATMENTS WERE A “GAIN LEADER” FOR
     OTHER DRUG SALES.

See Exhibit B.154 hereto attached.


7.155     OPINION – PHARMACIES COULD HAVE REDUCED THE OPIOID
     PROBLEM.

See Exhibit B.155 hereto attached.


7.156     OPINION – PHYSICIANS HAD THE MISIMPRESSION THAT
    OXYCONTIN WAS LESS POTENT THAN MS CONTIN. INSTEAD OF
    CORRECTING, THIS PURDUE TOOK ADVANTAGE OF THIS IGNORANCE
    TO ENCOURAGE INAPPROPRIATE USE OF OPIOIDS.

See Exhibit B.156 hereto attached.


7.157         OPINION – PURDUE AGREES THAT MARKETING INCREASES
     SALES.

See Exhibit B.157 hereto attached.


7.158      OPINION – PURDUE AND MCKESSON WORKED IN CONCERT TO
     GET MISINFORMATION INTO THE STREAM OF COMMERCE.

See Exhibit B.158 hereto attached.


7.159    OPINION – PURDUE AND WALGREENS CO-PROMOTED
    HYSINGLA EXTENDED RELEASE HYDROCODONE.
See Exhibit B.159 hereto attached.




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7.160    OPINION – PURDUE CLAIMED OXYCONTIN WAS EFFECTIVE
    HOWEVER DUE TO THE Q12 DOSING THIS TURNED OUT TO BE
    FALSE AND DOSE ESCALATION OCCURRED CREATING AN OPIOID
    ADDICTION MACHINE
See Exhibit B.160 hereto attached.


7.161        OPINION – PURDUE CREATED DEMAND WITH WHOLESALERS.
See Exhibit B.161 hereto attached.


7.162        OPINION – PURDUE DESTROYED DOCUMENTS.
See Exhibit B.162 hereto attached.


7.163   OPINION – CARDINAL PROVIDED MARKETING TO
    MANUFACTURERS TO GET MESSAGES TO CVS.
See Exhibit B.163 hereto attached.


7.164      OPINION – PURDUE DID NOT WANT TO REVEAL ITS BLAME THE
     VICTIM APPROACH TO ADDICTION FROM ITS DRUGS.

See Exhibit B.164 hereto attached.


7.165    OPINION – PURDUE EXERTED INFLUENCE OVER NATIONAL
    ASSOCIATION OF STATE CONTROLLED SUBSTANCES AUTHORITIES
    (NASCSA).
See Exhibit B.165 hereto attached.


7.166     OPINION – PURDUE FAILED TO CORRECT MISINFORMATION
     ABOUT OPIOIDS FOR HEADACHES.

See Exhibit B.166 hereto attached.




CONFIDENTIAL                                                                  86
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7.167     OPINION – PURDUE HAD AN EARLY WARNINGS PROGRAM TO
     TRACK ADVERSE PUBLICITY. MOST OF THIS RELATED TO ABUSE
     ADDICTION ETC. PURDUE CREATED A PUBLIC RELATIONS PROGRAM
     TO RESPOND RATHER THAN AN INTENSIVE PROGRAM TO TRACK AND
     INFLUENCE DOCTORS TO STOP.

See Exhibit B.167 hereto attached.


7.168        OPINION – PURDUE HAD TO DEVELOP AND MAINTAIN AN
     INTENSIVE MARKETING PROGRAM TO HOLD MARKET SHARE AFTER
     THE INTRODUCTION OF GENERICS.

See Exhibit B.168 hereto attached.


7.169      OPINION – PURDUE ILLEGALLY MARKETED MS CONTIN FOR A
     YEAR WITHOUT APPROVAL.

See Exhibit B.169 hereto attached.


7.170     OPINION – PURDUE KNEW (1997) - INCREASING STOCK
     LEVELS CAN FOSTER DEMAND.

See Exhibit B.170 hereto attached.


7.171     OPINION – PURDUE KNEW DOCTORS WERE NOT USING OXY
     APPROPRIATELY.

See Exhibit B.171 hereto attached.


7.172     OPINION – PURDUE KNEW THAT PRIMARY CARE DOCTORS
     CARRY OUT THE DAY TO DAY MANAGEMENT OF PAIN PATIENTS.
     HOWEVER CHRONIC OPIOID THERAPY SHOULD ONLY BE MANAGED BY
     DOCTORS WHO HAD EXPERT EXPERIENCE IN TREATING PATIENTS
     WITH OPIOIDS FOR CHRONIC PAIN.
                                  (SEE 2015 LABEL) THE LATTER
     GROUP MAY HAVE INCLUDED FEW PRIMARY CARE DOCTORS.

See Exhibit B.172 hereto attached.




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7.173    OPINION – PURDUE MADE MISLEADING CLAIMS ABOUT
    OXYCONTIN.
See Exhibit B.173 hereto attached.


7.174      OPINION – PURDUE MARKETED MS CONTIN WITH FALSE AND
     MISLEADING CLAIMS AND IGNORED FDA CITATIONS TELLING THEM
     TO STOP.

See Exhibit B.174 hereto attached.


7.175     OPINION – PURDUE MARKETED OXYCONTIN TO
     INAPPROPRIATE PATIENTS.

See Exhibit B.175 hereto attached.


7.176        OPINION – PURDUE OFF LABEL MARKETED FOR ACUTE PAIN.
See Exhibit B.176 hereto attached.


7.177        OPINION – PURDUE OFF LABEL MARKETED FOR MINOR PAIN.
See Exhibit B.177 hereto attached.


7.178     OPINION – PURDUE OFF LABEL MARKETED FOR PATIENTS
     WHO SHOULD NOT HAVE BEEN TREATED WITH AN OPIOID.

See Exhibit B.178 hereto attached.


7.179    OPINION – PURDUE PAID INDIVIDUALS TO PRESENT ON
    OPIOIDS.
See Exhibit B.179 hereto attached.


7.180        OPINION – PURDUE PLANTED ARTICLES IN MEDIA TO
     UNDERMINE THE PUBLIC HEALTH RESPONSE TO THE OPIOID CRISIS.
     ASCH.ORG
See Exhibit B.180 hereto attached.



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7.181    OPINION – PURDUE PRESSURED PHARMACISTS TO SELL
    OXYCONTIN
See Exhibit B.181 hereto attached.


7.182      OPINION – PURDUE REFUSED TO SPEND MONEY TO CHECK
     FOR SUSPICIOUS ORDERS.

See Exhibit B.182 hereto attached.


7.183     OPINION – PURDUE REPLACES UNINSURED STOLEN OXY AND
    NATIONAL ACCOUNTS EDUCATED OVER 12,000 PHARMACISTS IN
    LIVE VENUES – ON THE "DUTY TO DISPENSE: “OVERCOMING
    UNCERTAINTY, DOUBT, AND FEAR.”
See Exhibit B.183 hereto attached.


7.184     OPINION – PURDUE SOUGHT TO HIDE INFORMATION ON
     MARKETING PITCHES AND RESPONSES. THIS VIOLATES THEIR
     OBLIGATION TO REPORT OVERUSE, PILL MILLS, ETC.

See Exhibit B.184 hereto attached.


7.185        OPINION – PURDUE TRAINED WALGREENS PHARMACISTS.
See Exhibit B.185 hereto attached.


7.186        OPINION – PURDUE USED FRONT GROUPS.
See Exhibit B.186 hereto attached.


7.187    OPINION – PURDUE USED AMERICAN PAIN FOUNDATION
    (APF) TO UNDERMINE PROBLEMS RELATED TO ABUSE AND
    DIVERSION.

See Exhibit B.187 hereto attached.




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7.188     OPINION – PURDUE USED WHOLESALERS AND RETAILERS TO
     MARKET OPIOIDS.

See Exhibit B.188 hereto attached.


7.189    OPINION – PURDUE WAS TRACKING DEATHS FROM
    OXYCONTIN BY 2000.
See Exhibit B.189 hereto attached.


7.190     OPINION – PURDUE WORKED TO BLOCK DEA FROM
     RESTRICTING USE OF OPIOIDS TO PAIN SPECIALISTS. THIS WAS
     WRONG.

See Exhibit B.190 hereto attached.


7.191     OPINION – PURDUE WORKED WITH MANAGED CARE
     ORGANIZATIONS AND USED REBATES TO DRIVE VOLUME. THIS IS
     CONCERTED ACTION TO DRIVE VOLUME.

See Exhibit B.191 hereto attached.


7.192        OPINION – PURDUE’S ALLEGED ACTIONS TO ADDRESS
     ADDICTION WAS DRIVEN BY ITS DESIRE TO MAINTAIN MARKET SHARE
     AND UNDERMINE THE PUBLIC’S CONCERN ABOUT ADDICTION.               THAT
     IS WHY PURDUE FOCUSED ITS EFFORTS ON BLAMING THE VICTIMS
     AND “CRIMINALS” RATHER THAN ITS OWN PRODUCT AND MARKETING
     PRACTICES.

See Exhibit B.192 hereto attached.


7.193     OPINION – REBATES INCREASE PROFITS AND SALES AND
     WERE USED TO INFLUENCE PHARMACISTS.

See Exhibit B.193 hereto attached.




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7.194      OPINION – REINSTATEMENT REQUIRED BUYING CONDITIONS
     THAT WOULD INCREASE SALES.

See Exhibit B.194 hereto attached.


7.195     OPINION – REVOLVING DOOR - DR. GOTTLEIB SUPPORTS
    IMMPACT WHILE INVESTING IN PHARMACEUTICAL COMPANIES
    AND THEN BECOMES HEAD OF FDA.

See Exhibit B.195 hereto attached.


7.196      OPINION – RICHARD SACKLER IS THE PABLO ESCOBAR OF
     THE NEW MILLENNIUM. I AGREE.

See Exhibit B.196 hereto attached.


7.197     OPINION – TARGET RELAXED GOOD FAITH DISPENSING IN
    2014.
See Exhibit B.197 hereto attached.


7.198     OPINION – THE AMERICAN PAIN FOUNDATION (APF)
     REPEATED THE “VENTURE’S” LIES THAT OPIOIDS ARE NOT
     ADDICTIVE IF TAKEN AS DIRECTED AND PROVIDE “RELIEF,” NOT A
     “HIGH”.
See Exhibit B.198 hereto attached.


7.199      OPINION – THE “VENTURE” USED FRONT GROUPS TO
     INCREASE SALES. IN THIS CASE ABC INSTRUCTS ENDO ON HOW TO
     USE FRONT GROUPS.

See Exhibit B.199 hereto attached.


7.200      OPINION – THE “VENTURE” AGGRESSIVELY MARKETED
     OPIOIDS AS DRUGS TO “START WITH AND STAY WITH” DESPITE
     KNOWLEDGE OF ITS ADDICTIVE NATURE.

See Exhibit B.200 hereto attached.


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7.201     OPINION – THE “VENTURE” AND FDA HAD OFF THE RECORD
     CONVERSATIONS TO COORDINATE POLICY DECISIONS. HADDOX
     REPRESENTS 22 COMPANIES

See Exhibit B.201 hereto attached.


7.202     OPINION – THE “VENTURE” AND KEY OPINION LEADERS
     HELPED O’BRIEN REVISE THE DIAGNOSTIC AND STATISTICAL
     MANUAL (DSM) V TO CHANGE THE LANGUAGE OF THE OPIOID
     DISORDER FROM DEPENDENCE TO ADDICTION.

See Exhibit B.202 hereto attached.


7.203     OPINION – THE “VENTURE” CHANGED THE DIAGNOSTIC AND
    STATISTICAL MANUAL (DSM) LANGUAGE TO GIVE THE IMPRESSION
     THAT ADDICTION WAS INHERENT AND THUS NOT A CRITERIA FOR
     DEPENDENCE.

See Exhibit B.203 hereto attached.


7.204      OPINION – THE “VENTURE” CITES ‘MOST DOCTORS’ AS
     STATING THAT ‘PATIENTS TREATED WITH PROLONGED OPIOID
     MEDICINES USUALLY DO NOT BECOME ADDICTED.’ THERE IS NO
     EVIDENCE THAT ‘MOST DOCTORS’ SUPPORT THIS CLAIM.

See Exhibit B.204 hereto attached.


7.205      OPINION – THE “VENTURE” COULD HAVE IMPACTED ON
     MISUSE THROUGH PHARMACY INTERVENTION – GOOD FAITH
     DISPENSING PROGRAM EXAMPLE WALGREENS

See Exhibit B.205 hereto attached.


7.206      OPINION – THE “VENTURE” COULD HAVE TRACKED THE
     IMPACT OF ITS ACTIVITIES ON OFF-LABEL USE OF OPIOIDS. IT FAILED
     TO DO SO.

See Exhibit B.206 hereto attached.


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7.207     OPINION – THE “VENTURE” CREATED MISINFORMATION ON
     ADDICTION RISK AND TREATMENT INDICATIONS.

See Exhibit B.207 hereto attached.


7.208     OPINION – THE “VENTURE” CREATED THE ENTITY KNOWN AS,
    ‘PSEUDOADDICTION’ SEPARATE FROM ‘REAL ADDICTION’ TO
     DOCTORS AND INSTRUCTED DOCTORS TO INCREASE OPIOID DOSES IN
     THESE SITUATIONS.

See Exhibit B.208 hereto attached.


7.209     OPINION – THE “VENTURE” DID NOT USE THESE SURVEY
     METHODS TO TRY TO STOP OVERPRESCRIBING.

See Exhibit B.209 hereto attached.


7.210     OPINION – THE “VENTURE” FOCUSED ON FORMULARY
     APPROVALS.

See Exhibit B.210 hereto attached.


7.211    OPINION – THE “VENTURE” HAD AT LEAST 3 APPROACHES
    TO FORMULARY PENETRATION.
See Exhibit B.211 hereto attached.


7.212     OPINION – THE “VENTURE” HAD A COMPLETE LACK OF
     UNDERSTANDING OF ADDICTION. ADDICTION IS NOT A CRIME.
     ADDICTION UNLIKE “CHRONIC PAIN” IS A DISEASE.
See Exhibit B.212 hereto attached.


7.213      OPINION – THE “VENTURE” HAD A VARIETY OF APPROACHES
     TO INCREASE OPIOID USE.

See Exhibit B.213 hereto attached.




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7.214     OPINION – THE “VENTURE” HAS THE “SELLING TOOLS” TO
    “KEEP PATIENTS ON OXYCONTIN LONGER AND AT HIGHER DOSES.”
See Exhibit B.214 hereto attached.


7.215   OPINION – THE “VENTURE” HEALTHCARE DISTRIBUTION
    MANAGEMENT ASSN (HDMA/HDA) MEMBERSHIP.
See Exhibit B.215 hereto attached.


7.216     OPINION – THE “VENTURE” INCLUDING DISTRIBUTORS
     MARKETED UNAPPROVED DRUGS.

See Exhibit B.216 hereto attached.


7.217     OPINION – THE “VENTURE” INFLUENCED NIH CANCER PAIN
    MANAGEMENT HANDBOOK TO FACILITATE INCREASED USE OF
    OPIOIDS IN THIS CASE, ESPECIALLY ENDO’S PRODUCT.

See Exhibit B.217 hereto attached.


7.218     OPINION – THE “VENTURE” INFLUENCED THE SELECTION OF
     THE PRESIDENT OF THE AMERICAN PAIN FOUNDATION.

See Exhibit B.218 hereto attached.


7.219     OPINION – THE “VENTURE” INSTRUCTED ITS SALES REPS TO
    “EXTEND AVERAGE TREATMENT DURATION” TO MEET ITS GOAL OF
    $2.9B GROSS FUNDS IN 2010.
See Exhibit B.219 hereto attached.


7.220     OPINION – THE “VENTURE” KNEW MARKETING TO DOCTORS
     WORKED.

See Exhibit B.220 hereto attached.




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7.221     OPINION – THE “VENTURE” KNEW MARKETING TO
     PHARMACISTS WORKED.

See Exhibit B.221 hereto attached.


7.222        OPINION – THE “VENTURE” KNEW THAT PATIENTS AND
     DOCTORS WOULD CONSIDER TRIVIAL PAIN TO MERIT MODERATE TO
     SEVERE DESIGNATION INCLUDING INGROWN TOENAILS.

See Exhibit B.222 hereto attached.


7.223      OPINION – THE “VENTURE” KNEW THAT THE JICK LETTER DID
     NOT EVALUATE USE OF OXYCONTIN. THEY HID THIS FROM MEDICAL
     DOCTORS AND THE PUBLIC.

See Exhibit B.223 hereto attached.


7.224      OPINION – THE “VENTURE” MADE UNSUBSTANTIATED CLAIMS
     AND MINIMIZED ADDICTION RISK TO DOCTORS AND PATIENTS.

See Exhibit B.224 hereto attached.


7.225      OPINION – THE “VENTURE” MISREPRESENTED THE
     DEFINITION OF ADDICTION BY STATING THAT “TAKING OPIOIDS FOR
     PAIN RELIEF IS NOT ADDICTION”.

See Exhibit B.225 hereto attached.


7.226      OPINION – THE “VENTURE” PAID CHARLES O’BRIEN, WHO
     WROTE THE SUBSTANCE USE DISORDER PORTION OF DIAGNOSTIC
     AND STATISTICAL MANUAL (DSM) V. O’BRIEN SAID HE COULD
     “DELAY INVOICING” UNTIL THE NEXT YEAR TO AVOID DISCLOSING
     THESE PAYMENTS.

See Exhibit B.226 hereto attached.




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7.227        OPINION – THE “VENTURE” RECOGNIZED THEY THERE WAS
     NO EVIDENCE THAT LONG TERM OPIOIDS WORKED BETTER THAN
     PLACEBO. THEY NEVER PERFORMED THIS STUDY.

See Exhibit B.227 hereto attached.


7.228    OPINION – THE “VENTURE” REPEATEDLY ACKNOWLEDGED
    THEIR MAFIA STATUS AND EXPLAINED HOW THEY OPERATED.
See Exhibit B.228 hereto attached.


7.229    OPINION – THE “VENTURE” SET UP AMERICAN PAIN
    FOUNDATION (APF) TO INCREASE SALES AND MISLEAD THE PUBLIC
     ABOUT RISKS AND BENEFITS AND A POPULATION THAT WAS
     'UNTREATED’.
See Exhibit B.229 hereto attached.


7.230     OPINION – THE “VENTURE” SOUGHT TO EXPAND SALES
     INAPPROPRIATELY.

See Exhibit B.230 hereto attached.


7.231        OPINION – THE “VENTURE” TARGETED PHYSICIANS WHO DO
     NOT CONSIDER THEMSELVES PAIN EXPERTS IN ORDER TO INCREASE
     PRESCRIPTIONS.

See Exhibit B.231 hereto attached.


7.232    OPINION – THE “VENTURE” TARGETED VULNERABLE
    POPULATIONS.
See Exhibit B.232 hereto attached.


7.233     OPINION – THE “VENTURE” TOLD PHARMACIES THAT THERE
     WAS NO DOSE LIMIT. ADDICTION IS RELATED TO DOSE. THUS THIS
     MARKETING WAS AN ADDICTION CREATING MACHINE.

See Exhibit B.233 hereto attached.


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7.234     OPINION – THE “VENTURE” TRACKED MESSAGING. THEY
     KNEW WHO WAS CHEATING AND PUSHING PROMOTION MESSAGE
     RECALL DATA (PMRD).
See Exhibit B.234 hereto attached.


7.235      OPINION – THE “VENTURE” TRAINED SALES REPS TO PUSH
     HIGH-DOSE OPIOIDS TO DOCTORS.

See Exhibit B.235 hereto attached.


7.236        OPINION – THE “VENTURE” USE SEX TO SELL – ENDO.
See Exhibit B.236 hereto attached.


7.237     OPINION – THE “VENTURE” USED AGGRESSIVE CONTROL
     TECHNIQUES TO INFLUENCE DOCTORS NOT EVIDENCE BASED
     MEDICINE.
See Exhibit B.237 hereto attached.


7.238    OPINION – THE “VENTURE” USED AMERICAN PAIN
    FOUNDATION (APF) TO HIDE THE FUNDING SOURCE FOR TALKS.
See Exhibit B.238 hereto attached.


7.239     OPINION – THE “VENTURE” USED AMERICAN PAIN SOCIETY
    (APS) AS A FRONT FOR MARKETING - "MULTI-ETHNIC STUDY =
    MARKETING".

See Exhibit B.239 hereto attached.


7.240        OPINION – THE “VENTURE” USED BRIBES TO SELL.
See Exhibit B.240 hereto attached.


7.241     OPINION – THE “VENTURE” USED FRONT GROUPS TO
     PROMOTE SALES TO WORK AROUND FDA MARKETING PROHIBITIONS.

See Exhibit B.241 hereto attached.

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7.242     OPINION – THE “VENTURE” USED FRONT GROUPS TO
     SECRETLY COMMUNICATE WITH EACH OTHER. FDA AND
     VORSANGER OF J&J GOT THIS.
See Exhibit B.242 hereto attached.


7.243        OPINION – THE “VENTURE” USED PHARMACISTS TO INCREASE
     USE.

See Exhibit B.243 hereto attached.


7.244        OPINION – THE “VENTURE” USED SEX TO SELL – PURDUE.
See Exhibit B.244 hereto attached.


7.245    OPINION – THE “VENTURE” USED SEX TO SELL –
    MALLINCKRODT.
See Exhibit B.245 hereto attached.


7.246        OPINION – THE “VENTURE” USED SEX TO SELL.
See Exhibit B.246 hereto attached.


7.247     OPINION – THE “VENTURE” USED THE JOINT COMMISSION
     ON ACCREDITATION OF HEALTHCARE ORGANIZATIONS (JCAHO)
     PROCESS TO INCREASE USE OF OPIOIDS.

See Exhibit B.247 hereto attached.


7.248    OPINION – THE “VENTURE” USED THE OPIOID POST-
    MARKETING REQUIREMENT CONSORTIUM (OPC) TO GENERATE
    FAVORABLE RESULTS, SECRETLY GHOST WRITE PAPERS ALL WITH
    PURPOSE OF INCREASING SALES BY MINIMIZING RISKS AND
    INCREASING THE POPULATION TARGETED FOR USE.
See Exhibit B.248 hereto attached.




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7.249      OPINION – THE “VENTURE” USED UNBRANDED MESSAGING
     TO PROMOTE SALES TO WORK AROUND FDA MARKETING
     PROHIBITIONS.

See Exhibit B.249 hereto attached.


7.250      OPINION – THE “VENTURE” USED ‘HOOKERS, STRIPPERS AND
     LAP DANCERS’ AS ROUTINE SALES TECHNIQUES.

See Exhibit B.250 hereto attached.


7.251     OPINION – THE “VENTURE” USED “EDUCATIONAL” LISTSERV
    PAIN_CHEM_DEP TO FIND HIGH-PRESCRIBING DOCTORS TO SELL
    ITS OPIOIDS.

See Exhibit B.251 hereto attached.


7.252     OPINION – THE “VENTURE” DID NOT EMPHASIZE THE
     DIAGNOSES THAT ARE NOT MODERATE PAIN FOR OPIOIDS.

See Exhibit B.252 hereto attached.


7.253     OPINION – THE FDA ORDERED OPANA ER REMOVED FROM
     THE MARKET JUNE 8 2017. ENDO DID NOT ISSUE A RECALL.

See Exhibit B.253 hereto attached.


7.254     OPINION – THE JICK LETTER PROVIDED NO RELIABLE
     EVIDENCE ON THE RISK OF ADDICTION FROM OPIOID USE.

See Exhibit B.254 hereto attached.




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7.255     OPINION – THE PURDUE MARKETING PLAN TARGETED
    100,000 MEDICAL DOCTORS AND 25,000 PHARMACY AND
    THERAPEUTICS (P&T) MEMBERS. THERE ARE NOT 100,000
     MEDICAL DOCTORS WHO HAVE EXPERIENCE TREATING CHRONIC
     PAIN WITH OPIOIDS. THIS EXPANDED THE USE TO MEDICAL DOCTORS
     WHO SHOULD NOT HAVE PRESCRIBED THE DRUG.

See Exhibit B.255 hereto attached.


7.256        OPINION – THE WHOLESALERS WERE A CONDUIT FOR
     MISINFORMATION TO PHARMACIES AND HAD THE CAPACITY TO
     MONITOR USE AND FAILED TO DO SO.

See Exhibit B.256 hereto attached.


7.257      OPINION – TITRATION IS THE KEY FOR A ‘BIGGER BONUS’ FOR
     THE “VENTURE” EVEN IF IT MEANS ‘ESCALATING DOSAGE AND
     NUMBER OF TABLETS’.

See Exhibit B.257 hereto attached.


7.258      OPINION – TO INCREASE SALES, THE “VENTURE” USED
     PRESCRIBER DATA FROM IMS TO TARGET TO HIGH-PRESCRIBING
     PHYSICIANS INSTEAD OF TRACKING PATTERNS OF ABUSE.

See Exhibit B.258 hereto attached.


7.259      OPINION – THE DEA DIDN'T BUY WAG’S ELECTRONIC
     RECORD ARGUMENT AND THREATENED WALGREENS WITH
     VIOLATIONS FOR EACH INSTANCE.

See Exhibit B.259 hereto attached.


7.260        OPINION – WALGREENS AND PURDUE SHARED DATA.
See Exhibit B.260 hereto attached.




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7.261      OPINION – WALGREENS ANTICIPATED JUPITER SHUT DOWN
     AND DEVELOPED A WORK AROUND TO CIRCUMVENT DOJ
     AGREEMENT.

See Exhibit B.261 hereto attached.


7.262     OPINION – WALGREENS GOOD FAITH WAS DONE IN RESPONSE
     TO DEA ACTION.

See Exhibit B.262 hereto attached.


7.263     OPINION – WALGREENS KEPT SUBOXONE OFF OF
     FORMULARIES.

See Exhibit B.263 hereto attached.


7.264     OPINION – WALGREENS PHARMACIES SOLD OUTRAGEOUS
     AMOUNTS OF OPIOIDS II.

See Exhibit B.264 hereto attached.


7.265      OPINION – WALGREENS SOLD OUTRAGEOUS AMOUNTS OF OXY
     TO CERTAIN STORES.

See Exhibit B.265 hereto attached.


7.266      OPINION – WALGREENS USED A FRONT AMERICAN ACADEMY
     OF PAIN MEDICINE (AAPM) TO MAKE IT APPEAR THAT ITS GOOD
     FAITH DISPENSING (GFD) PROGRAM WAS GOOD. THE FRONT MADE
     CHANGES TO UNDERMINE THE EFFICACY OF THE SYSTEM.

See Exhibit B.266 hereto attached.


7.267      OPINION – WALGREENS USED A FRONT TO MAKE IT APPEAR
     THAT ITS GOOD FAITH DISPENSING (GFD) PROGRAM WAS GOOD.

See Exhibit B.267 hereto attached.




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7.268      OPINION – WHEN MADE AWARE OF PILL MILLS PURDUE
     DEVELOPED A PR STRATEGY TO DEFEND ITS PRODUCT RATHER
     THAN A PUBLIC HEALTH STRATEGY TO PROTECT PATIENTS.

See Exhibit B.268 hereto attached.


7.269         OPINION – WHEN MADE AWARE OF PILL MILLS, PURDUE
     DEVELOPED STRATEGY TO UNDERMINE REGULATORY EFFORTS TO
     DEAL WITH THE PROBLEM.

See Exhibit B.269 hereto attached.


7.270     OPINION – WHOLESALERS WORKED IN CONCERT WITH
     MANUFACTURERS TO PROMOTE OPIOID USE.

See Exhibit B.270 hereto attached.


7.271         OPINION –THE “VENTURE” INFLUENCED THE NIH
     HANDBOOK ON CANCER PAIN TREATMENT AND USED IT TO INCREASE
     SALES.

See Exhibit B.271 hereto attached.


7.272         OPINION –THE “VENTURE” USED FRONT GROUPS TO
     ENHANCE SALES BY UNDERMINING ADDICTION RISK AND EXPANDING
     USE AND INFLUENCING REGULATORS. THE “VENTURE” USED THE
     FRONT GROUPS TO MARKET DIRECTLY TO CONSUMERS.

See Exhibit B.272 hereto attached.


7.273     OPINION – AMERICAN PAIN SOCIETY (APS), AMERICAN PAIN
    FOUNDATION (APF) AND OTHER PAIN SOCIETIES WERE FRONTS FOR
    THE “VENTURE”. “UNCONDITIONAL GRANTS” WERE CONDITIONED
    ON THE CONDITION THAT THE PAIN SOCIETIES DID THE “VENTURE’S”
    BIDDING.

See Exhibit B.273 hereto attached.




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7.274     OPINION – THE “VENTURE” EXPANDED THE MARKET BY
     PROMOTING INAPPROPRIATE USE (LOW BACK SPASM) OF 3 YEARS
     DURATION WITH “SOME PAIN”.

See Exhibit B.274 hereto attached.


7.275     OPINION – THE “VENTURE” PUSHED LONG ACTING
    NARCOTICS FOR INITIAL DRUG PRESCRIPTION FOR ANY CAUSE OF
    PAIN INCREASING ADDICTION
See Exhibit B.275 hereto attached.


7.276     OPINIONS - THE “VENTURE” PUSHED Q12 RATHER THAN
     INCREASING DOSE FREQUENCY INCREASING ADDICTION.

See Exhibit B.276 hereto attached.


7.277     OPINIONS: THE SACKLER FAMILY ORIGINATED DIRECT-TO-
     CONSUMER DRUG MARKETING. THIS PRACTICE HAS SINCE BEEN
     WIDELY ADOPTED BY THE PHARMACEUTICAL AND MEDICAL DEVICE
     INDUSTRY.

See Exhibit B.277 hereto attached.


7.278        THERE WAS PURDUE SPOLIATION.
See Exhibit B.278 hereto attached.


7.279    OPINION – WALGREENS AND JUPITER MISCONDUCT –
    CORRECT MONITORING AND ACTIVELY CHANGING ORDERS TO AVOID
    REPORTING.

See Exhibit B.279 hereto attached.


7.280        OPINION – PURDUE KNEW REBATES DROVE SALES.
See Exhibit B.280 hereto attached.




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7.281    OPINION – THE “VENTURE” HAD MANY SALES CODE
    VIOLATIONS – ENDO EXAMPLE
See Exhibit B.281 hereto attached.


7.282    OPINION – PURDUE HAD A REBATE PROGRAM WITH PRIME
    THERAPEUTICS.
See Exhibit B.282 hereto attached.


7.283     OPINION – THE “VENTURE” RELIED UPON A PSEUDO
     SYNDROME CALLED PSEUDOADDICTION, WHICH WAS USED BY THE
     “VENTURE” TO CONVINCE DOCTORS THAT PATIENTS WITH
     ADDICTION SYMPTOMS WERE NOT ACTUALLY ADDICTED TO OPIOIDS
     BUT RATHER NEEDED TO BE TREATED WITH EVER ESCALATING
     DOSES.   A DIAGNOSIS OF PESUDOADDICTION WORSENED THE
     ADDICTION AND DELAYED OR BLOCKED TREATMENT FOR ADDICTION.
     THIS IS NOT EVIDENCE BASED MEDICINE.
See Exhibit B.283 hereto attached.


7.284    OPINION – PURDUE EDITED THE AMERICAN MEDICAL
    DIRECTORS ASSOCIATIONS GUIDELINE FOR CHRONIC PAIN
    MANAGEMENT IN THE LONG-TERM CARE SETTING.
See Exhibit B.284 hereto attached.


7.285      OPINION – PURDUE HAD A GROSS MISUNDERSTANDING OF
     HOW SCIENCE WORKS AND EPIDEMIOLOGY AND STATISTICS. THE
     FIRST RULE OF SCIENCE IS REPETITION OF EXPERIMENTS.

See Exhibit B.285 hereto attached.


7.286     OPINION – THE “VENTURE” INFLUENCED PRACTITIONERS
     EXPLOITING OVER PRESCRIBERS AND FAILING TO REPORT MDS
     WHOSE PRESCRIBING LED TO DIVERSION

See Exhibit B.286 hereto attached.


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7.287    OPINION – PURDUE MANIPULATED SUSPICIOUS ORDER
    MONITORING (“SOM”) BY MANIPULATING THE QUOTA SYSTEM
See Exhibit B.287 hereto attached.


7.288        OPINION PURDUE MARKETED PAIN TREATMENT TO
     ELEMENTARY SCHOOL CHILDREN

See Exhibit B.288 hereto attached.


7.289     OPINION PURDUE PRESENTED DATA TO THEIR SALES REPS IN
     THE OXYCONTIN LAUNCH MEETING THAT THE FDA SAID WOULD BE
     MISLEADING.

See Exhibit B.289 hereto attached.


7.290    OPINION – IN 2013, STEPHEN SEID, PURDUE’S VP OF
    NATIONAL ACCOUNTS BROUGHT PRESSURE ON WALGREENS ABOUT
    GOOD FAITH DISPENSING (GFD).
See Exhibit B.290 hereto attached.


7.291      OPINION – PURDUE REBATES TO WALGREENS BEGAN NO
     LATER THAN 1998.

See Exhibit B.291 hereto attached.


7.292     OPINION – PURDUE REMOVED DETAILED AND THOROUGH
     FROM REVIEW OF ABUSE DATA.

See Exhibit B.292 hereto attached.


7.293      OPINION – PURDUE SOLD AN UNSAFE OPIOID FOR ABOUT A
     YEAR BUT DID NOT ISSUE A RECALL.

See Exhibit B.293 hereto attached.




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7.294      OPINION – PURDUE MARKETED TO DENTISTS - THIS IS OFF
     LABEL.

See Exhibit B.294 hereto attached.


7.295        OPINION – PURDUE TRAINED WALGREENS PERSONNEL IN
     NARCOTICS

See Exhibit B.295 hereto attached.


7.296     OPINION – PURDUE TRIED TO INFLUENCE OHIO
     REGULATORY AGENCIES.

See Exhibit B.296 hereto attached.


7.297    OPINION – PURDUE WANTED TO RETAIN THE POWER TO
    SLOW THE PUBLIC HEALTH RESPONSE TO THE OPIOID CRISIS.
See Exhibit B.297 hereto attached.


7.298        OPINION – REBATES DRIVE SALES OF HIGHER DOSE OPIOIDS.
See Exhibit B.298 hereto attached.


7.299      OPINION – WHOLESALER PERFORMANCE AGREEMENT
     BETWEEN PURDUE AND CARDINAL WAS A CONCERTED ACTION TO
     SELL AND PROMOTE OPIOIDS.

See Exhibit B.299 hereto attached.




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7.300        OPINION – ‘CHRONIC NON-MALIGNANT PAIN’ CAN BE A
     FUNCTION OF PHYSICAL WORK AND THUS SOCIOECONOMIC STATUS.
     THAT PAIN IS EITHER “NORMAL” OR SHOULD BE TREATED WITH
     CHANGES IN WORK. THE OVERWHELMING MAJORITY OF
     INDIVIDUALS, INCLUDING BUT NOT LIMITED TO, TEACHERS, RETAIL
     WORKERS, WAITRESSES, BARBERS, JANITORS, GARBAGE
     COLLECTORS, AND ATHLETES, DEVELOP CHRONIC NON-MALIGNANT
     PAIN.

See Exhibit B.300 hereto attached.


7.301   OPINION – NATIONAL INITIATIVE ON PAIN CONTROL (NIPC)
    (ENDO) ALLOWED OFF LABEL MARKETING
See Exhibit B.301 hereto attached.


7.302     OPINION – THE “VENTURE” HAD A COMPREHENSIVE
     PROGRAM TO PUSH OPIOIDS INCLUDING PUSHING DIRECT-TO-
     CONSUMER (DTC) AND TO INEXPERIENCED PRESCRIBERS
See Exhibit B.302 hereto attached.


7.303    OPINION – “VENTURE” KEY OPINION LEADERS (KOLS) SEED
    THE LITERATURE WITHOUT DISCLOSING INDUSTRY FUNDING
See Exhibit B.303 hereto attached.


7.304     OPINION – OXYCODONE IS UP TO 3 TIMES MORE POTENT THAN
     PREVIOUSLY ACKNOWLEDGED BY THE “VENTURE”

See Exhibit B.304 hereto attached.


7.305     OPINION – THE “VENTURE” CHANGED DIAGNOSTIC AND
    STATISTICAL MANUAL (DSM) ADDICTION CRITERIA
See Exhibit B.305 hereto attached.




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7.306    OPINION – PURDUE COULD HAVE STOPPED THIS BY TRACKING
    IMS DATA LIKE THEY DID WITH ME. DENTAL USE SHOULD HAVE
     TRIGGERED AN INTERVENTION

See Exhibit B.306 hereto attached.


7.307        OPINION – PURDUE TARGETED OHIO
See Exhibit B.307 hereto attached.


7.308        OPINION – PURDUE TOLD ITS PERSONNEL NOT TO REPORT
     GENERAL ASSERTIONS OF DIVERSION

See Exhibit B.308 hereto attached.


7.309    OPINION – SUMMIT COUNTY RELIED ON EXPRESSMEDS AND
    EXPRESS SCRIPTS FOR ITS FORMULARY
See Exhibit B.309 hereto attached.


7.310        OPINION – TEVA OFF LABEL MARKETED ACTIQ
See Exhibit B.310 hereto attached.


7.311      OPINION – THE 5TH VITAL SIGN WAS OPPOSED BY MEMBERS
     OF JOINT COMMISSION ON ACCREDITATION OF HEALTHCARE
     ORGANIZATIONS (JACHO). IT INCREASED ADDICTION RATES
See Exhibit B.311 hereto attached.


7.312    OPINION – THE “VENTURE” CHANGED THE STANDARD OF
    CARE FOR PAIN TREATMENT WITHOUT EVIDENCE THAT THE
    CHANGE WOULD IMPROVE CARE BUT WITH EVIDENCE THAT THE
    CHANGE WOULD INCREASE PROFITS AND USE OF OPIOIDS
See Exhibit B.312 hereto attached.




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7.313    OPINION – THE “VENTURE” CREATES A MYTHICAL PROBLEM
    CALLED “UNDERTREATED PAIN” AND USED THAT MYTH TO FLOOD
    THE US MARKET WITH THE “OPIOIDS” SOLUTION.
See Exhibit B.313 hereto attached.


7.314   OPINION – THE “VENTURE” KNEW PUSHING OPIOIDS
    WORKED
See Exhibit B.314 hereto attached.


7.315     OPINION – THE “VENTURE” KNEW THE JICK LETTER DID NOT
     ADDRESS RISK OF ADDICTION FOR OPIOID TREATMENT OF CHRONIC
     NON-MALIGNANT PAIN (CNMP) BUT REFUSED TO FUND A MORE
     COMPREHENSIVE STUDY

See Exhibit B.315 hereto attached.


7.316      OPINION – THE “VENTURE” MEMBERS HELPED PROMOTE USE
     OF OPIOIDS.

See Exhibit B.316 hereto attached.


7.317    OPINION – THE “VENTURE” USED MIDDLE MEN AKA
    “PROFESSIONAL SOCIETIES” TO HIDE PAYMENTS TO SPEAKERS
See Exhibit B.317 hereto attached.


7.318        OPINION – THE “VENTURE” GENERATED MEDICAL
     LITERATURE TO ENHANCE SALES

See Exhibit B.318 hereto attached.


7.319     OPINION – THE RISK OF ADDICTION FROM LONG ACTING
    OPIOIDS (LAOS) IS UNKNOWN. TELLING PRESCRIBER THE RISK IS
    LOW OR RARE IS AN ANTI-WARNING THAT IS NOT BASED ON
    SCIENTIFIC EVIDENCE.

See Exhibit B.319 hereto attached.


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7.320      OPINION – THE “VENTURE” ACTED TOGETHER TO PASS
     LEGISLATIVE BILL S. 483, WHICH HINDERS THE DEA’S ABILITY TO
     INTERVENE IN SUSPICIOUS SHIPMENTS OF OPIOIDS.

See Exhibit B.320 hereto attached.


7.321    OPINION – THE “VENTURE” – MCKESSON’S SUSPICIOUS
    ORDER MONITORING (SOM) WAS INADEQUATE.
See Exhibit B.321 hereto attached.


7.322      OPINION – WALGREENS GOT AROUND SUSPICIOUS ORDER
     ISSUES - OTHER WHOLESALERS STEPPED IN.

See Exhibit B.322 hereto attached.


7.323     OPINIONS – PURDUE RESPONSE TO MONITORING WAS
     INADEQUATE.

See Exhibit B.323 hereto attached.


7.324      OPINION – AMERISOURCE BERGEN (“ABC”) WAS LIGHT ON
     ORDER MONITORING. THE ABC FOCUS IS ONLY ON RAPID GROWTH,
     NOT STEADY SALES. FOCUS ON BIG ACCOUNTS ONLY FOR
     SUSPICIOUS ORDER MONITORING.
See Exhibit B.324 hereto attached.


7.325     OPINION – MANUFACTURERS AND WHOLESALERS
     COORDINATED ACTIVITIES.

See Exhibit B.325 hereto attached.


7.326      OPINION – PURDUE SPENT LESS THAN 2 MINUTES REVIEWING
     SUSPICIOUS ORDERS.

See Exhibit B.326 hereto attached.




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7.327        OPINION –WALGREENS CIRCUMVENTED ITS OWN POLICY TO
     AVOID ITS OBLIGATION TO INVESTIGATE AND REPORT SUSPICIOUS
     ORDERS.

See Exhibit B.327 hereto attached.


7.328     OPINION – THE “VENTURE” IGNORED WARNINGS OF EXCESS
     DRUG SALES.

See Exhibit B.328 hereto attached.


7.329     OPINION – “VENTURE” MEMBERS HAD AGREEMENTS WITH
    AUTHORIZED DISTRIBUTORS WHEREBY THEY RECEIVED DATA
    THAT COULD HAVE BEEN USED TO MONITOR SUSPICIOUS ORDERS.
    THIS DATA GAVE “VENTURE” MEMBERS VISIBILITY INTO THEIR
    CUSTOMER’S CUSTOMERS.
See Exhibit B.329 hereto attached.


7.330    OPINION – THE “VENTURE” HAD DATA THAT COULD BE
    USED DO SUSPICIOUS ORDER MONITORING (SOM) BUT THEY DID
    NOT USE IT.
See Exhibit B.330 hereto attached.


7.331    OPINION – WALGREENS HAD TO WORK HARD TO CIRCUMVENT
    CARDINAL RED FLAGGED STORES.
See Exhibit B.331 hereto attached.


7.332     OPINION – WALGREENS SOFTWARE WAS AN EASY WORK
     AROUND CONTROLS.

See Exhibit B.332 hereto attached.


7.333    OPINION – WALGREENS UNDERMINED ITS OWN SUSPICIOUS
    ORDER MONITORING (SOM) POLICY.
See Exhibit B.333 hereto attached.


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7.334     OPINION – WALGREENS USED MONITORING TO INCREASE
     RATHER THAN REDUCE ABUSE.

See Exhibit B.334 hereto attached.


7.335     OPINION – WALGREENS REFUSED TO LET MANUFACTURERS
     AND WHOLESALERS AUDIT SUSPICIOUS ORDER MONITORING
     (SOM).
See Exhibit B.335 hereto attached.


7.336     OPINION – MANUFACTURERS AND WHOLESALERS WERE
     CONNECTED AT THE HIP.

See Exhibit B.336 hereto attached.


7.337        OPINION – THE “VENTURE” ACTED IN CONCERT TO TARGET
     INAPPROPRIATE PRESCRIBERS THAT IS PRESCRIBERS WHO ARE NOT
     "KNOWLEDGEABLE IN THE USE OF POTENT OPIOIDS FOR THE
     MANAGEMENT OF CHRONIC PAIN.”

See Exhibit B.337 hereto attached.


7.338      OPINION – THE “VENTURE” AIMED TO EXPAND THE
     INDICATIONS OF OPIOID ANALGESICS TO TREAT NON-CANCER PAIN
     SPECIFICALLY FOR TREATMENT OF CHRONIC PAIN AND IN PEDIATRIC
     POPULATIONS.

See Exhibit B.338 hereto attached.


7.339        OPINION – THE “VENTURE” COOKED THE BOOKS.
See Exhibit B.339 hereto attached.


7.340     OPINION – THE “VENTURE” KNEW THE 12 HOUR CLAIM WAS
     BOGUS.

See Exhibit B.340 hereto attached.



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7.341    OPINION – THE “VENTURE” LEVERAGED THE AMERICAN
    ACADEMY OF PAIN MEDICINE (AAPM) AND AMERICAN PAIN
    SOCIETY (APS) TO ADVERTISE NON-CANCER USE OF MS CONTIN TO
    DOCTORS, APPROVED BY THE FDA.
See Exhibit B.341 hereto attached.


7.342     OPINION – THE “VENTURE” MARKETED DIRECTLY TO
     PHARMACIES.

See Exhibit B.342 hereto attached.


7.343        OPINION – PURDUE MARKETED TO PHYSICIANS WHO WERE
     NOT “KNOWLEDGEABLE IN THE USE OF POTENT OPIOIDS FOR THE
     MANAGEMENT OF CHRONIC PAIN.”FROM LABEL:

See Exhibit B.343 hereto attached.


7.344        OPINION – THE “VENTURE” ORGANIZED LOBBYING.
See Exhibit B.344 hereto attached.


7.345        OPINION – THE “VENTURE” OVER PROMOTED NARCOTICS.
See Exhibit B.345 hereto attached.


7.346    OPINION – THE “VENTURE” PUSHED HIGHER DOSES THUS
    INCREASING ADDICTION.
See Exhibit B.346 hereto attached.


7.347    OPINION – THE “VENTURE” PUSHED NARCOTICS FOR
    PATIENT WHO SHOULD NOT GET THEM I.E. PATIENTS WITH
    DISEASES THAT ARE BETTER TREATED WITH DRUGS FOR THEIR
    DISEASE (OSTEOARTHRITIS) OR TO DOCTORS WHO SHOULD NOT
    USE THEM (FAMILY PRACTITIONERS, REHABILITATION
    PHYSICIANS, AND NEUROLOGISTS).
See Exhibit B.347 hereto attached.


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7.348    OPINION – PURDUE PUSHED NO CEILING DOSE FOR
    OXYCONTIN INCREASING ADDICTION. THE MS CONTIN PUBLIC
     PERCEPTION OF END OF LIFE TREATMENT DOES NOT ACCOUNT FOR
     THE FACT THAT OXYCONTIN CAUSED PATIENT DEATHS.

See Exhibit B.348 hereto attached.


7.349    OPINION – THE “VENTURE” INFLUENCED THE FDA RISK
    EVALUATION AND MITIGATION STRATEGY (REMS) PROGRAM.
See Exhibit B.349 hereto attached.


7.350        OPINION – THE “VENTURE” SOUGHT TO INFLUENCE
     INTERNATIONAL ORGANIZATIONS

See Exhibit B.350 hereto attached.


7.351      OPINION – THE “VENTURE” SOUGHT TO USE FRONT GROUPS
     TO INCREASE USE.

See Exhibit B.351 hereto attached.


7.352        OPINION – THE “VENTURE” TRAINED SALES
     REPRESENTATIVES TO ABUSE THE TRUST OF DOCTORS TO SELL
     DRUGS.

See Exhibit B.352 hereto attached.


7.353      OPINION – THE “VENTURE” USED DOSING TO ADDICT
     PATIENTS.

See Exhibit B.353 hereto attached.


7.354     OPINION – THE “VENTURE” USED FORMULARY ACCESS TO
     INCREASE USE.

See Exhibit B.354 hereto attached.




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7.355        OPINION – THE “VENTURE” USED J&J LAWYER ANGAROLA
     TO INCREASE OPIOID USE

See Exhibit B.355 hereto attached.


7.356      OPINION – THE “VENTURE” INFLUENCED THE MANAGED
     CARE MARKET TO INCREASE SALES - RELATIONSHIP BETWEEN THE
     MANUFACTURERS AND PHYSICIANS, PATIENTS, AND PHARMACISTS.

See Exhibit B.356 hereto attached.


7.357    OPINION – THE “VENTURE” SOUGHT TO ADDICT VENERABLE
    POPULATIONS. REPS WERE PAID TWICE THE BONUS DOLLARS FOR
    LANDING A NURSING HOME, HOME HEALTH AND HEALTH AID VS A
    HOSPITAL OR PAIN CENTER.
See Exhibit B.357 hereto attached.


7.358    OPINION – THE “VENTURE’S” EFFORTS TO KEEP KEY
    INFORMATION ON THE HARMFUL EFFECTS OF THEIR PRODUCTS A
    SECRET, THEIR ILLEGAL ACTS SECRET HAS MADE THE ADDICTION,
    ABUSE, AND OVERDOSE PROBLEM WORSE.
See Exhibit B.358 hereto attached.


7.359    OPINION – THE “VENTURE” MARKETED TO INAPPROPRIATE
    PRESCRIBERS.
See Exhibit B.359 hereto attached.


7.360    OPINION – THE “VENTURE” USED A VARIETY OF SALES
    TECHNIQUES TO CONVINCE PHYSICIANS TO PRESCRIBE AND
    PATIENTS TO USE OPIOIDS TO TREAT NON-MALIGNANT PAIN
    (NMP)
See Exhibit B.360 hereto attached.




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7.361     OPINION – THE NY-ATTORNEY GENERAL’S OFFICE
    DEMANDED THAT THE “VENTURE” REMOVE A MISLEADING CLAIM
    THAT “MOST DOCTORS” SUGGEST PATIENTS USUALLY DO NOT
    BECOME ADDICTED TO EXTENDED RELEASE OPIOIDS
See Exhibit B.361 hereto attached.


7.362        OPINION – OPIOIDS INCREASE SENSITIVITY TO PAIN IN SOME
     PATIENTS

See Exhibit B.362 hereto attached.


7.363   OPINION – THE OPIOID PMR CONSORTIUM (OPC)
    COMPOSITION
See Exhibit B.363 hereto attached.


7.364        OPINIONS: THE SACKLER FAMILY ORIGINATED
     GHOSTWRITING AND THE USE OF MEDICAL JOURNALS AS MEDICAL
     MARKETING TOOLS TO INCREASE DRUG SALES. THIS PRACTICE HAS
     SINCE BEEN WIDELY ADOPTED BY THE PHARMACEUTICAL AND
     MEDICAL DEVICE INDUSTRY.

See Exhibit B.364 hereto attached.


7.365     OPINION – THE VISUAL ANALOGUE SCALE IS NOT RELIABLE;
     THEREFORE, ALL PAIN STUDIES THAT USE IT ARE
     UNINTERPRETABLE.

See Exhibit B.365 hereto attached.


7.366        OPINION – THERE ARE CULTURAL AND ETHNICAL
     DISPARITIES IN THE WAY INDIVIDUALS PERCEIVE AND EXPERIENCE
     PAIN.

See Exhibit B.366 hereto attached.




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7.367        OPINION – ADDICTION DEFINITION
See Exhibit B.367 hereto attached.


7.368     OPINION – AMERICAN PAIN SOCIETY (APS), AMERICAN PAIN
    FOUNDATION (APF) AND OTHER PAIN SOCIETIES WERE FRONTS FOR
    THE “VENTURE”. “UNCONDITIONAL GRANTS” WERE CONDITIONAL
    ON THE CONDITION THAT THE PAIN SOCIETIES DID THE “VENTURE’S”
    BIDDING.

See Exhibit B.368 hereto attached.


7.369      OPINION – THE “VENTURE” ACTED IN CONCERT TO
     STRATEGICALLY UTILIZE THIRD PARTIES, INCLUDING BUT NOT
     LIMITED, TO FRONT GROUPS, KEY OPINION LEADERS, ADVOCACY
     GROUPS, UNBRANDED PROMOTION, PROFESSIONAL SOCIETIES,
     TRADE GROUPS AND COMPANY-SPONSORED NON-DRUG SPECIFIC
     PROMOTION, AND CONTINUING EDUCATION PROGRAMS, TO CREATE
     THE CONDITIONS NECESSARY TO CARRY OUT THE GOALS OF THE
     “VENTURE”, OBSCURING THE “VENTURE’S” ROLE.
See Exhibit B.369 hereto attached.


7.370      OPINION – WA SOUGHT TO AND DID CIRCUMVENT CARDINAL
     RED FLAG STORE SHIPMENTS.

See Exhibit B.370 hereto attached.


7.371        OPINION – WALGREENS AND PURDUE HAD A REBATE
     PROGRAM THAT RELATED TO FORMULARY ACCESS AMONG OTHER
     THINGS.

See Exhibit B.371 hereto attached.


7.372        OPINION – WALGREENS AUDITING WAS INADEQUATE.
See Exhibit B.372 hereto attached.




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7.373    OPINION – WALGREENS CREATED COMMUNICATIONS FOR
    PURDUE FOR DISTRIBUTION TO CUSTOMERS AND PHARMACISTS.
See Exhibit B.373 hereto attached.


7.374     OPINION –WALGREENS SUSPICIOUS ORDER MONITORING WAS
     INADEQUATE.

See Exhibit B.374 hereto attached.


7.375        OPINION – WALGREENS WAS A WHOLESALER TO ITSELF
See Exhibit B.375 hereto attached.


7.376       OPINION – WALGREENS SYSTEMS COULD BE MANIPULATED TO
     ALLOW STORES TO CIRCUMVENT QUANTITY RESTRICTIONS - KNOWN
     ISSUE - 'THIS IS HOW THE SYSTEM ALWAYS WORKED'

See Exhibit B.376 hereto attached.


7.377        OPINION – WHEN WALGREENS CIRCUMVENTED CARDINAL
     RED FLAGS THEY BOUGHT A LARGE STAKE IN
     AMERISOURCEBERGEN.
See Exhibit B.377 hereto attached.


7.378        OPINION – WHOLESALERS PROMOTED DRUG USE.
See Exhibit B.378 hereto attached.


7.379        OPINION – YALE FORMULARY IS VERY IMPORTANT.
See Exhibit B.379 hereto attached.


7.380    OPINION – PURDUE TRAINED WALGREENS PHARMACISTS IN
    1996
See Exhibit B.380 hereto attached.




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7.381        OPINION – “VENTURE” MEMBER JANSSEN MISREPRESENTED
     THE ADDICTION POTENTIAL OF OPIOIDS IN GENERAL AND ITS
     OPIOIDS IN PARTICULAR.

See Exhibit B.381 hereto attached.


7.382        OPINION – THE “VENTURE” WORKED TOGETHER TO CREATE
     GHOST WRITTEN INDUSTRY EDITED PAPERS TO SUPPORT THEIR
     MARKETING.

See Exhibit B.382 hereto attached.


7.383     OPINION: AS REQUESTED BY THE FDA, THE “VENTURE”,
     WORKING AS THE “INDUSTRY WORKING GROUP,” CREATED A
     DOCUMENT TO DEFINE “ABUSE”, “ADDICTION” AND “OPIOID PSEUDO-
     ADDICTION” AND AID THE FDA IN THE CREATION OF THE RISK
     EVALUATION AND MITIGATION STRATEGY (REMS). THUS THE FDA
     PLACED THE CONVICTED CRIMINAL AND FDA RULE BREAKERS IN
     CHARGE OF THE CHICKENS.

See Exhibit B.383 hereto attached.


7.384        OPINION – THE “VENTURE” HAS FALSELY STATED THAT
     PATIENTS WILL NOT BECOME ADDICTED IF PATIENTS ARE TAKING
     OPIOIDS FOR LEGITIMATE, “MEDICAL PURPOSES.”

See Exhibit B.384 hereto attached.


7.385      OPINION – ACTAVIS HAD MARKETING AGREEMENTS WITH
     SOME DISTRIBUTORS AND PROVIDED MCKESSON WITH “TALKING
     POINTS” TO SELL OXYMORPHONE TO PHARMACISTS.

See Exhibit B.385 hereto attached.




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7.386     OPINION – THE “VENTURE” DID NOT INCLUDE FDA-
     MANDATED DRUG LABEL WARNINGS IN THE PHYSICIAN’S DESK
     REFERENCE (PDR) FOR ALL OF THEIR DRUGS THEY SOLD FOR
     EVERY YEAR THAT THEY WERE SOLD. THE “VENTURE” MEMBERS
     HAD A DUTY TO ENSURE THAT DOCTORS RECEIVED THESE WARNINGS.
     WITHOUT INCLUSION IN THE PDR, MANY DOCTORS DID NOT
     RECEIVE THE FDA-MANDATED WARNING LABELS.

See Exhibit B.386 hereto attached.


7.387     OPINION: PLANNING COMMITTEE MEMBERS,
     TEACHERS/PRESENTERS, AND AUTHORS OF CME SHOULD DISCLOSE
     RELATIONSHIPS WITH COMMERCIAL INTERESTS.

See Exhibit B.387 hereto attached.


7.388     OPINION – PURDUE USED THE 2001 LABEL CHANGE TO
     EXPAND THE TARGET MARKET. ALL SIMILAR OPIOID LABELS
     CHANGED AT THE SAME TIME.

See Exhibit B.388 hereto attached.


7.389    OPINION – OPIOIDS HAVE PARADOXICAL EFFECTS ON PAIN
    INCREASING PAIN IN SOME PATIENTS. IT CAN BE DIFFICULT
    (PERHAPS IMPOSSIBLE IN A STUDY) TO DISTINGUISH TOLERANCE
    AND HYPERALGESIA, AND IT IMPOSSIBLE TO DO SO SOLELY BASED
    ON THE CLINICAL OBSERVATION OF THE PATIENT. THIS IS NOT
    ACCOUNTED FOR IN ANY PAIN OPIOID STUDIES. AS A RESULT THE
    VALIDITY OF ALL THESE STUDIES IS QUESTIONABLE. THIS IS
    ANOTHER REASON THAT ENRICHED ENROLMENT WITH
    RANDOMISED WITHDRAWAL (EERW) STUDY DESIGN IS INVALID
    AND THAT THE FDA VIEW THAT “WE KNOW [OPIOIDS] WORK” IS
    NONSENSE
See Exhibit B.389 hereto attached.




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7.390    OPINION: THE “VENTURE” MARKETED GENERIC DRUGS,
    SPECIFICALLY TARGETING HIGH PRESCRIBING PHYSICIANS TO
    “INCREASE THEIR SCRIPTS.” THIS INCLUDES PHYSICIANS WHO ARE
    OVERLY AND INAPPROPRIATELY PRESCRIBING DRUGS.
See Exhibit B.390 hereto attached.


7.391    OPINION: THE FDA NEVER APPROVED OXYCONTIN AS A
    TREATMENT FOR CHRONIC PAIN.
See Exhibit B.391 hereto attached.


7.392    OPINION: THE FDA ONLY APPROVED OXYCONTIN FOR USE
    BY TREATERS WHO WERE “KNOWLEDGEABLE IN THE USE OF
    POTENT OPIOIDS FOR THE MANAGEMENT OF CHRONIC PAIN.”
See Exhibit B.392 hereto attached.


7.393     OPINION – DR. ROBERT RAPPAPORT WAS CAPTURED BY
    INDUSTRY AND COORDINATED WITH THE “VENTURE” TO INCREASE
    OPIOID USE, EASE OPIOID APPROVALS, EXPAND OPIOID
    INDICATIONS AND MINIMIZE ADDICTION RISK.
See Exhibit B.393 hereto attached.


7.394        OPINION – THIS IS AN OVERVIEW OF THE US DISTRIBUTION
     AND REIMBURSEMENT SYSTEM FOR OUTPATIENT DRUGS

See Exhibit B.394 hereto attached.


7.395     OPINION –WALGREENS SYSTEMS COULD BE MANIPULATED TO
     ALLOW STORES TO CIRCUMVENT QUANTITY RESTRICTIONS. THIS WAS
     A KNOWN ISSUE. “[T]HIS IS HOW THE SYSTEM ALWAYS WORKED”

See Exhibit B.395 hereto attached.




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7.396    OPINION – “VENTURE” KEY OPINION LEADERS (KOLS)
    CREATED POORLY SUPPORTED MEDICAL LITERATURE TO SUPPORT
    CLAIMS THAT WOULD EXPAND THE MARKET FOR OPIOIDS.
See Exhibit B.396 hereto attached.


7.397    OPINION – AROUND 1997, “VENTURE” MEMBERS ORTHO-
    MCNEIL (JOHNSON & JOHNSON) AND PURDUE BEGAN CO-
    PROMOTING ULTRAM SR, INTENDED FOR THE USE OF MORE
    MODERATE PAIN.

See Exhibit B.397 hereto attached.


7.398     OPINION –CEPHALON’S ACTIQ WAS NOT INDICATED FOR, BUT
     WAS MARKETED OFF LABEL FOR MINOR PAIN.

See Exhibit B.398 hereto attached.


7.399     OPINION – THE “VENTURE” AGREE NOT TO COMPETE ON
     SAFETY.

See Exhibit B.399 hereto attached.


7.400    OPINION – DEA CITED WALGREENS FOR BAD PRACTICES AT
    PERRYSBURG DISTRIBUTION CENTER.
See Exhibit B.400 hereto attached.


7.401     OPINION – DICTIONARY OF TERMS FROM WHOLESALER
     AGREEMENTS.

See Exhibit B.401 hereto attached.


7.402        OPINION – WHOLESALER CONNECTIONS TO PHARMACIES.
See Exhibit B.402 hereto attached.


7.403        POSSIBLE LIMITATIONS TO MY ANALYSIS.
See Exhibit B.403 hereto attached.

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7.404        OPINION – THE “VENTURE” ACTED IN CONCERT TO:
See Exhibit B.404 hereto attached.


7.405        OPINION – THE “VENTURE” RECOGNIZED THAT THERE WAS
     NO EVIDENCE THAT OPIOIDS WERE INDICATED FOR THE TREATMENT
     OF CHRONIC NON-MALIGNANT PAIN.

See Exhibit B.405 hereto attached.


7.406     OPINION – WHOLESALE DISTRIBUTORS ALSO OWN AND
     OPERATE SPECIALTY PHARMACIES.

See Exhibit B.406 hereto attached.


7.407      OPINION – PRESCRIPTION OPIOIDS CAUSED THE OPIOID
     CRISIS.

See Exhibit B.407 hereto attached.


7.408    OPINION – DOCTORS ON THE “VENTURE’S” PAYROLL
    ADMITTED THAT PSEUDOADDICTION DESCRIBES BEHAVIORS
    ‘CLEARLY CHARACTERIZED AS DRUG ABUSE’ AND PUT THE
    “VENTURE” AT RISK OF ‘SANCTIONING ABUSE.’
See Exhibit B.408 hereto attached.


7.409     OPINION – PURDUE CLAIMED OXYCONTIN CR WAS
     APPROVED FOR POST-OPERATIVE PAIN. THIS IS NOT TRUE.

See Exhibit B.409 hereto attached.


7.410     OPINION – PURDUE DID NOT REMOVE THE 160 MG DOSE
    FORM THE LABEL UNTIL 2011 ALTHOUGH IT WAS AWARE OF THE
    FACT THAT ITS RISKS OUTWEIGHED BENEFITS BY 2001.
See Exhibit B.410 hereto attached.




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7.411    OPINION – PURDUE EDITED THE AMERICAN MEDICAL
    DIRECTORS ASSOCIATIONS GUIDELINE FOR CHRONIC PAIN
    MANAGEMENT IN THE LONG-TERM CARE SETTING.
See Exhibit B.411 hereto attached.


7.412        OPINION – PURDUE STOPPED SELLING THE 160 MG PILL
     BECAUSE IT WAS NOT SAFE AND EFFICACIOUS BUT NEVER DID A
     RECALL.

See Exhibit B.412 hereto attached.


7.413     OPINION – THE “VENTURE” - ROXANE (NOW MALLINCKRODT)
     INCLUDING DISTRIBUTORS MARKETED UNAPPROVED DRUGS.

See Exhibit B.413 hereto attached.


7.414    OPINION – OUT THE DRUGS TARGETED FOR GOOD FAITH
    DISPENSING (GFD), ONLY THE USE RATES OF OXYCONTIN WERE
    AFFECTED.
See Exhibit B.414 hereto attached.


7.415        OPINION – THE “VENTURE” CONTINUALLY REMINDED ITS
     STAFF THAT SHIFTS TO LOWER DOSES WOULD RESULT IN HUGE
     MONETARY LOSSES FOR THE “VENTURE”.

See Exhibit B.415 hereto attached.


7.416        OPINION – THE “VENTURE” USED A VARIETY OF SALES
     TECHNIQUES TO CONVINCE PHYSICIANS TO PRESCRIBE AND
     PATIENTS TO USE OPIOIDS TO TREAT CHRONIC NON-MALIGNANT
     PAIN.
See Exhibit B.416 hereto attached.




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7.417     OPINION – THE “VENTURE” SEEDED THE LITERATURE TO
     INCREASE USE OF OPIOIDS IN MINORITY POPULATIONS.

See Exhibit B.417 hereto attached.


7.418        OPINION – THE “VENTURE” SHARED INFORMATION.
See Exhibit B.418 hereto attached.


7.419    OPINION – THE “VENTURE” SHOULD HAVE TRAINED
    DOCTORS TO TELL PATIENTS WHAT TO DO WITH EXTRA PILLS
    AND HOW TO PROPERLY DISPOSE OF THEM. THIS SHOULD BE IN
    THE PACKAGE INSERT.
See Exhibit B.419 hereto attached.


7.420    OPINION – THE “VENTURE” USED SEX TO SELL PRODUCT –
    INSYS.
See Exhibit B.420 hereto attached.


7.421    OPINION – THE VISUAL ANALOGUE SCALE IS NOT RELIABLE
    AND THEREFORE ALL PAIN STUDIES THAT USE IT ARE
    UNINTERPRETABLE.
See Exhibit B.421 hereto attached.


7.422      OPINION – VIP = VOLUME INCENTIVE PROGRAM (PRICING
     SELL MORE GET INCREASED IN REBATE). THIS IS AN EXAMPLE OF
     THE “VENTURE” IN OPERATION. OXY DRIVES SALES MALLINCKRODT
     AND WALGREENS.

See Exhibit B.422 hereto attached.


7.423    OPINION – WALGREENS AGREED TO CREATE
    “COMMUNICATIONS” ON HYSINGLA.
See Exhibit B.423 hereto attached.



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7.424     OPINION – WALGREENS AND MALLINCKRODT WORKED
    TOGETHER ON SUSPICIOUS ORDER MONITORING (SOM) FAILURE
    IS JOINT RESPONSIBILITY.
See Exhibit B.424 hereto attached.


7.425     OPINION – WHOLESALERS CONTROLLED ENTIRE CHAINS OR
     PHARMACY OPIOID USE AND HAD A SWITCH PROGRAM.

See Exhibit B.425 hereto attached.


7.426    OPINION – ALLERGAN DEFINED “CLOSED FORMULARY” AND
    “INCENTIVE FORMULARY” AS FOLLOWS:
See Exhibit B.426 hereto attached.


7.427     OPINION – ENDO WAS EITHER TOO CHEAP TO ADD ITS OPIOID
     LABELS TO THE 2014 PDR OR COMPLETELY IRRESPONSIBLE FOR
     THIS FAILURE TO WARN LEARNED INTERMEDIARIES OF ANY DATA
     CONCERNING THESE DANGEROUS DRUGS.

See Exhibit B.427 hereto attached.


7.428      OPINION – “VENTURE” FUNDED PAPER AND CME ARE BIASED
     TO INCREASE OPIOID USE.

See Exhibit B.428 hereto attached.


7.429     OPINION – MARKETING HAS A RETURN ON INVESTMENT
    (ROI) AND INFLUENCES DOCTORS.
See Exhibit B.429 hereto attached.


7.430    OPINION – MCKESSON HAD MARKETING AGREEMENTS WITH
    MALLINCKRODT, PURDUE AND TEVA.
See Exhibit B.430 hereto attached.




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7.431        OPINION – WHOLESALERS WORKED IN CONCERT WITH
     MANUFACTURERS TO PROMOTE OPIOID USE THROUGH PHARMACIES.

See Exhibit B.431 hereto attached.


7.432        OPINION – LABEL CHANGES ON ABUSE POTENTIAL CHANGES
     OVER TIME

See Exhibit B.432 hereto attached.


7.433      OPINION – THE “VENTURE” MISLED PRESCRIBERS ABOUT
     THE POTENCY OF OXYCONTIN. THE “VENTURE” TARGETED NON-
     CANCER PATIENTS TO INCREASE MARKET SIZE TO INAPPROPRIATE
     PATIENTS. THE “VENTURE” TARGETED NON-CANCER PATIENTS TO
     MISLEAD PRESCRIBERS ABOUT THE POTENCY AND THUS ADDICTION
     POTENTIAL OF OXYCONTIN.

See Exhibit B.433 hereto attached.


7.434     OPINION – PURDUE RECOMMENDED USING OXYCONTIN FOR
     SHINGLES. THIS IS AN EFFORT TO INCREASE PROFITS BY
     ENCOURAGING USE IN DISEASE IT WAS NOT INDICATED FOR.

See Exhibit B.434 hereto attached.


7.435     OPINION – PURDUE WAS AWARE OF THE FACT THAT DOCTORS
     WERE NOT AWARE OF THE POTENCY OF OXYCONTIN. INSTEAD OF
     CORRECTING THIS MISIMPRESSION, PURDUE CAPITALIZED ON IT TO
     INCREASE OXYCONTIN USE.

See Exhibit B.435 hereto attached.


7.436      OPINION – THE “VENTURE” INFLUENCED WHO GUIDELINES
     AND THEN USED THEM TO UP SELL.

See Exhibit B.436 hereto attached.




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7.437     OPINION – THE CLINICAL STUDIES CITED IN OPIOID DRUG
     LABELS CHANGED OVER TIME.

See Exhibit B.437 hereto attached.


7.438    OPINION: THE “VENTURE” USED THE AMERICAN PAIN
    FOUNDATION AND INDUSTRY FUNDED KEY OPINION LEADERS
    (KOLS) TO CREATE LITERATURE FOR THE PURPOSE OF
     INFLUENCING POLICY MAKERS AND REPORTERS AND FAILED TO
     DISCLOSE ALL OF THE INDUSTRY CONNECTIONS OF THE KOLS.

See Exhibit B.438 hereto attached.


7.439        OPINION – THE PAIN CARE FORUM (PCF) WAS MADE UP OF
     THE FOLLOWING MEMBERS AND WAS HELD AT THE OFFICE OF
     POWERS, PYLES, SUTTER & VERVILLE A WASHINGTON DC
     ATTORNEY’S OFFICE.

See Exhibit B.439 hereto attached.


7.440        OPINION – THIRD PARTY ENDORSEMENTS ARE MORE
     EFFECTIVE AT INFLUENCING BEHAVIOR THAN FIRST PARTY
     ENDORSEMENTS. IN ADDITION, THESE THIRD-PARTY ENDORSEMENTS
     TARGETED CONSUMERS AND CIRCUMVENTED LEARNED
     INTERMEDIARY PHYSICIANS. THE COMPANIES DID NOT INCLUDE
     APPROPRIATE WARNINGS AND CAUTIONS IN THEIR ENDORSEMENTS
     TO CONSUMERS.

See Exhibit B.440 hereto attached.


7.441     OPINION – “VENTURE” MEMBERS PURDUE AND JANSSEN
     WORKED TOGETHER TO INCREASE OPIOID USE.

See Exhibit B.441 hereto attached.


7.442    OPINION – THE “VENTURE” MEMBERS SHARED KEY OPINION
    LEADERS (KOLS) PORTENOY, CARR.
See Exhibit B.442 hereto attached.

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7.443     OPINION – ROBERT WOOD JOHNSON FOUNDATION (RWJF)
    ASSISTED THE “VENTURE”.
See Exhibit B.443 hereto attached.


7.444     OPINION – ALLERGAN DID MANY BAD THINGS, SUCH AS
    LYING ABOUT ADDICTION, EXPANDING THE OPIOID MARKET,
    CLAIMED PAIN WAS A DISEASE, AND ENTERED INTO SETTLEMENTS
    AND GUILTY PLEAS.
See Exhibit B.444 hereto attached.


7.445    OPINION – MALLINCKRODT KNEW THEY WERE FEEDING
    ADDICTS. THEY THOUGHT THIS WAS FUNNY. I DISAGREE.
See Exhibit B.445 hereto attached.


7.446      OPINION – THE “VENTURE” USED FORMULARIES TO EXPAND
     THE OPIOID MARKET.

See Exhibit B.446 hereto attached.


7.447      OPINION: THE “VENTURE” ENGAGED IN CONCERTED ACTION
     TO INCREASE SALES BY MINIMIZING ADDITION RISK, ENCOURAGING
     OVERUSE, ENCOURAGING USE BY PHYSICIANS WHO THE BLACK BOX
     WARNING SAID SHOULD NOT USE OPIOIDS.

See Exhibit B.447 hereto attached.


7.448     OPINION – THE INDICATIONS FOR THE “VENTURE’S” OPIOID
     MEDICATIONS CHANGED OVER TIME.

See Exhibit B.448 hereto attached.


7.449     OPINION – THE DOSAGE FORMS AND STRENGTHS LISTED ON
    THE “VENTURE’S” OPIOID MEDICATION LABELS CHANGED OVER
    TIME.
See Exhibit B.449 hereto attached.


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7.450    OPINION – THE BLACK BOX WARNINGS FOR THE
    “VENTURE’S” OPIOID MEDICATIONS CHANGED OVER TIME.
See Exhibit B.450 hereto attached.


7.451    OPINION: THE “VENTURE” CREATED AND SUPPORTS THE
    USE OF THE ENRICHED ENROLLMENT RANDOMIZED WITHDRAWAL
    (EERW) STUDY DESIGN FOR APPROVING ANALGESICS FOR
    CHRONIC NON-CANCER PAIN. AS OF 2016, 5 DRUGS HAVE BEEN
    APPROVED FOR CHRONIC PAIN ON THE BASIS OF EERW STUDIES.
    EERW IS FLAWED METHODOLOGY.
See Exhibit B.451 hereto attached.


7.452     OPINION – PURDUE WAS AWARE OF THE FACT THAT
    PATIENTS WERE ILLEGALLY OBTAINING OPIOIDS UNDER MY NAME.
    IT FAILED TO REPORT THIS. THIS METHOD COULD HAVE BEEN
    USED TO TRACK DIVERSION IN GENERAL.
See Exhibit B.452 hereto attached.


7.453    OPINION – OHIO MEDICAID DEPENDED ON THE PHARMACY
    BENEFIT MANAGERS (PBMS) FOR FORMULARY DRUG SELECTION.
See Exhibit B.453 hereto attached.


7.454   OPINION – TEVA USED ITS HOTLINE TO OFF LABEL
    MARKET.
See Exhibit B.454 hereto attached.


7.455        OPINION – ALL THESE OPIOIDS HAD THE SAME RISK OF
     ADDICTION FOR THE SAME EFFECTIVE DOSE AND THE WARNINGS
     SHOULD HAVE AT A MINIMUM BEEN THE STRONGEST THAT WAS
     APPROVED FOR ANY OF THEM.

See Exhibit B.455 hereto attached.




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7.456     OPINION: THE FDA NEVER APPROVED OXYCONTIN AS A
     TREATMENT FOR CHRONIC PAIN.

See Exhibit B.456 hereto attached.


7.457    OPINION – THE CLINICAL STUDIES ON THE “VENTURE’S”
    OPIOID DRUG LABELS CHANGED OVER TIME.
See Exhibit B.457 hereto attached.


7.458     OPINION – THE “VENTURE” MEMBERS USED VARIOUS
     METHODS TO PUSH DRUGS - FORMULARY ACCESS WAS KEY.

See Exhibit B.458 hereto attached.


7.459    OPINION – WALGREENS CIRCUMVENTED THE DEA
    SETTLEMENT.
See Exhibit B.459 hereto attached.


7.460    OPINION – PURDUE RESISTED IMPROVEMENTS IN
    SUSPICIOUS ORDER MONITORING.
See Exhibit B.460 hereto attached.


7.461        OPINION – WALGREEN’S SOM WAS A JOKE.
See Exhibit B.461 hereto attached.


7.462      OPINION – THIS IS THE TIMELINE OF FDA ACTIVITY THAT FDA
     CREATED OF ITS ACTIVITY RELATED TO OPIOID ADDICTION – IT
     OMITS REGULATORY CAPTURE.

See Exhibit B.462 hereto attached.




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7.463     OPINION – THE “VENTURE” GHOST WROTE THE REVIEW OF
    ENRICHED ENROLLMENT RANDOMIZED WITHDRAWAL (EERW)
    STUDIES. THIS IS UNETHICAL AND ALTERED THE PAPER IN A
    MATERIAL WAY TO MAKE IT APPEAR THAT EERW STUDIES ARE
    LEGITIMATE WHEN THEY ARE NOT.
See Exhibit B.463 hereto attached.


7.464    OPINION – THE “VENTURE” USED DISCOUNT CARDS TO
    INCREASE SALES
See Exhibit B.464 hereto attached.


7.465    OPINION – PURDUE HAD AN EXTENSIVE MARKETING
    PROGRAM FOR HOSPITAL FORMULARY ACCESS.
See Exhibit B.465 hereto attached.


7.466    OPINION – PURDUE SPOLIATED DOCUMENTS AND HARD
    DRIVES.
See Exhibit B.466 hereto attached.


7.467    OPINION – THIS IS A PLACED AD THAT APPEARS TO BE A
    MEDICAL ARTICLE THAT WAS GHOST WRITTEN FOR A KEY
    OPINION LEADER (KOL) WHO DID NOT DISCLOSE HIS CONFLICTS.
See Exhibit B.467 hereto attached.


7.468      OPINION – MCKESSON BLAMES MANUFACTURERS AND AVOIDS
     ITS OWN RESPONSIBILITY.

See Exhibit B.468 hereto attached.


7.469    OPINION – THIS DESCRIBES PHARMACEUTICAL PRICING AND
    PHARMACY BENEFIT MANAGER (PBM) AND MANUFACTURING
    MANIPULATION OF THE SYSTEM TO INFLUENCE DRUG USE.
See Exhibit B.469 hereto attached.


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7.470    OPINION – THIS IS PURDUE’S AND THE INDUSTRY’S
    PRODUCT DISTRIBUTION METHODOLOGY.
See Exhibit B.470 hereto attached.


7.471      OPINION – THE POST MARKETING STUDIES WERE DONE BY
     THE “VENTURE” AS A WHOLE. THIS IS AN EXAMPLE OF REGULATORY
     CAPTURE. NO RATIONAL REGULATORY AGENCY WOULD INVITE
     CONVICTED CRIMINALS TO CONDUCT STUDIES ON THEIR OWN
     PRODUCTS.  INDUSTRY HELPED CREATE OR ACTUALLY PERFORM THE
     FISHBAIN STUDY.

See Exhibit B.471 hereto attached.


7.472    OPINION – J&J MARKETED NARCOTICS TO INAPPROPRIATE
    PATIENTS.
See Exhibit B.472 hereto attached.




7.473     OPINION – DEFINITION – INSTEAD OF NAMING PARTICULAR
    COMPANIES IN MY OPINIONS, I REFER TO MANUFACTURING AND
    DISTRIBUTOR DEFENDANTS (INCLUDING THEIR ASSOCIATED
    INDIVIDUALS AND/OR ORGANIZATIONS) AS THE “VENTURE”.
See Exhibit B.473 hereto attached.


7.474    OPINION – THE BOARDS OF J&J AND RWJF OVERLAP. IT IS
    IMPROPER FOR A NON-PROFIT TO DO SOMETHING THAT BENEFITS
    A BOARD MEMBER’S COMPANY.
See Exhibit B.474 hereto attached.




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7.475    OPINION – THE “VENTURE” USED AND CONTROLLED MANY
    FRONT GROUPS TO UNDERMINE ADDICTION RISK AND INCREASE
    MARKET TO INAPPROPRIATE PATIENTS
See Exhibit B.475 hereto attached.


7.476        OPINION – MALINCKRODT OPINIONS
See Exhibit B.476 hereto attached.


7.477   OPINION – “VENTURE” MEMBERS HAD AGREEMENTS WITH
    WHOLESALERS, INCLUDING BUT NOT LIMITED TO: "
See Exhibit B.474 hereto attached.


7.478     OPINION – “VENTURE” MEMBERS HAD INVENTORY LICENSE
    AGREEMENTS WITH WALGREENS WHEREBY THEY RECEIVED DATA
    THAT COULD HAVE BEEN USED TO MONITOR SUSPICIOUS ORDERS.
    THIS DATA GAVE VENTURE MEMBERS VISIBILITY INTO THEIR
    CUSTOMER’S CUSTOMERS.
See Exhibit B.478 hereto attached.


7.479     OPINION – CVS’S SUSPICIOUS ORDER MONITORING SYSTEM
    DID NOT MONITOR SUSPICIOUS ORDERS. IT’S SOM POLICY
    SPECIFIED THAT IF MULTIPLE ORDERS FOR THE SAME STORE ARE
    FLAGGED DURING THE SAME MONTH, ALL ORDERS AFTER THE
    FIRST ORDER WILL NOT BE INVESTIGATED AND WILL BE
    AUTOMATICALLY RELEASED BASED ON THE RELEASE OF THE
    FIRST ORDER
See Exhibit B.479 hereto attached.


7.480        OPINION – WALMART HELPED ACTAVIS MARKET OPIOIDS
See Exhibit B.480 hereto attached.




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7.481    OPINION – THE GAO DOCUMENTED BAD CONDUCT BY
    PURDUE THAT INCREASED ADDICTION
See Exhibit B.481 hereto attached.


7.482   OPINION – CARDINAL DELIVERED MANUFACTURERS
    MARKETING MESSAGES TO CVS
See Exhibit B.482 hereto attached.


7.483    OPINION – OPIOIDS ARE NEVER MENTIONED AS AN OPTION
    FOR RX OF RHEUMATOID ARTHRITIS.
See Exhibit B.483 hereto attached.


7.484    OPINION – OPIOIDS ARE NOT RECOMMENDED FOR RX OF
    OSTEOARTHRITIS
See Exhibit B.484 hereto attached.


7.485     OPINION – OPIOIDS SHOULD NOT BE USED FOR LOW BACK
    PAIN. CHRONIC OPIOIDS ARE VERBOTEN.
See Exhibit B.485 hereto attached.


7.486    OPINION – OPIOIDS ARE NOT TREATMENT FOR
    FIBROMYALGIA
See Exhibit B.486 hereto attached.


7.487    OPINION – RITE AID PROVIDED MARKETING SERVICES TO
    TEVA
See Exhibit B.487 hereto attached.


7.488        OPINION – THESE ARE THE MEMBERS OF THE “VENTURE”
See Exhibit B.488 hereto attached.




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7.489    OPINION – MEMBERS OF THE “VENTURE” ENTERED
    AGREEMENTS WITH THE DEA AND DOJ FOR VIOLATING THE LAW
See Exhibit B.489 hereto attached.




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8 LIMITATIONS
Limitations to my analysis include:

   1)  I could not review missing or destroyed documents
   2)  I could not review documents withheld as non-responsive
   3)  I could not review documents withheld as privileged
   4)  I could not review redacted language
   5)  I did not review correspondence in non-produced personal emails
   6)  I did not review correspondence in non-produced text messages
   7)  Multiple productions remain incomplete
   8)  I do not have access to all of the documents produced in other state specific
       litigation.
   9) Monitoring reports under Corporate Integrity Agreements were not produced
   10) Ethics Hotline reports under Corporate Integrity Agreements were not produced

See Exhibit B.403 hereto attached.




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9 FACTS AND DATA REVIEWED, READ OR CONSIDERED
Production is ongoing, and I reserve the right to supplement this list as more documents
become available.

I have reviewed, read or considered:

     1) The published medical literature60 on Opioids, Pain, Addiction, Pain Treatments,
         NSAIDs. See Exhibit C.
     2) Documents and metadata produced by the Defendants, Plaintiffs, and Third Parties
         specifically referenced in Exhibit D hereto attached.
     3) Legal complaints filed against opioid manufacturers and distributers in
         Massachusetts and Florida.
     4) The Master Amended Complaint filed in this case (Opiate MDL).
     5) Deposition transcripts (with exhibits) taken in this case (Opiate MDL).
     6) Other historical deposition transcripts (including Covington and Fishbain) taken in
         prior Purdue litigation.
     7) Articles published in magazines and newspapers referenced in Opinions.
     8) Websites (including government sites) referenced in Opinions.
     9) News media publications referenced in Opinions.
     10) 1984-2017 Editions of the Physician’s Desk Reference.

It is my expectation that I will review the Expert Reports of Plaintiffs’ and Defendants’
Experts once they are made available.

It is my understanding that production is ongoing. Should documents be produced, I
reserve the right to supplement my opinions.




60 Every attempt was made to include literature cited in this report and to the extent a piece of
literature was missed, it is incorporated herein.

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10 PRIOR EXPERT TESTIMONY
   •   2015
          o Anderson et al v. Aldrich Chemical Company et al., Docket No.
            2009CV003457 (Wi Cir. Ct.)
          o Smead v. Chr. Hansen Inc. et al., Docket No. 2009CV003112 (Wis Cir. Ct.)
          o Boyd v. Ameron International Corporation, et al., Docket No. RG14738647
            (Cal.Super.)
          o Norful vs Cooper Bussmann, Docket No. 1222-CC00961 (Mo. Cir. Ct.)
          o Solorzano v. Honeywell, Docket No. GD-15-008069 (PA Ct. Comm. Pleas)
          o Emerson v. Union Pacific, Docket No. RG-13698637 (Cal.Super.)
          o Trejo v. Hyster et al., Docket No. BC574146 (Cal.Super.)
          o Aoki v. DePuy, et al., Docket No. 3-13-cv-1071-K, MDL No. 2244 (U.S.D.C.
            N.D. TX)
   •   2016
          o Amesquita et al v. Gilster-Mary Lee, et al., Docket No. ED 99266 (MO Ct.
            App., E. Dist.)
          o Jo Levitt vs. Merck, Docket No. 06–CV–00818–W–DW (U.S.D.C. W.D. MO)
          o Crawford v. Gold Coast, Docket No. 13-EV-017885-B (Fulton County, GA)
          o Tyler vs. American Optical, et al., Docket No. LA CV16-02337 JAK (ASx)
            (U.S.D.C. C.D. CA)
          o Ortwein vs. CertainTeed, Docket No. RG13701633 (Cal.Super.)
          o Olson vs. Metalclad, Docket No. A102605 (Cal. App.)
   •   2017
          o Wurster v. The Plastics Group, Inc., Docket No. 4-14-cv-503-CRW-SBJ
            (U.S.D.C. S.D. Iowa)
          o Zampa v. v. Georgia-Pacific LLC, et al., Docket No. RG16836998 (Cal.Super.)
          o Williams v. UCC, Docket No. 16-CI-1842 (Ky. Cir. Ct.)
          o Darpel v. Cargill Flavors, Docket No. 12-CI-446 (Ky. Cir. Ct.)
   •   2018
          o Leavitt v. Johnson and Johnson, et al., Docket No. RG1782401 (Cal.Super.)
          o Ingham v. Johnson & Johnson, et al., Docket No. 4:17–CV–1857 SNLJ
            (U.S.D.C. E.D. MO)
          o Cynthia Hayes, as Executrix of the Estate of Donna Ann Hayes v. J& J,
            Docket No. 16-CI-03503 (Ky. Cir. Ct.)
          o In re NCAA, Docket No. 05-17-00951-CV, 543 S.W.3d 487 (Tex. Ct. App.)
          o Thompson v. Air & Liquid Systems Corp., et al., Docket No. 18-2-05736-7
            (Wash.Super.)
   •   2019
          o Fong v. Johnson and Johnson, et al., Docket No. 2:18-CV-00470 (U.S.D.C.
            C.D. CA)




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11 COMPENSATION
My billing rate in this litigation is $650 per hour for depositions and $600 per hour for trial
testimony and preparation.




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12 SIGNATURE
RESERVATION OF RIGHTS



This report is a statement of opinions I expect to express in this matter and the basis and
reasons for those opinions. This report summarizes only my current opinions and analyses
to date, which are subject to change depending upon ongoing discovery and additional
information. I respectfully reserve the right to supplement my report in light of this and
any other additional fact discovery, opinions by other experts, and/or trial testimony. I also
respectfully reserve the right to provide rebuttal opinions and testimony in response to
other experts, and rebuttal testimony in response to any fact witnesses. In connection with
my anticipated trial testimony in this action, I may use as exhibits various documents
produced in this litigation that refer to or relate to the matters discussed in this report. In
addition, i respectfully reserve the right to use animations, demonstratives, enlargements
of actual attachments, and other information in order to convey my opinions.



I understand that i may be asked to provide further opinions and analyses on other issues,
including in response to analyses provided by other experts. I will do so at the appropriate
time set by the court.



Executed on this 25th day of March, 2019, in Attelboro, MA.




Report of David S. Egilman, MD, MPH

March 25, 2019 in Opiate MDL Litigation (MDL 2804)




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